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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03010-APM

v.                                    HON. AMIT P. MEHTA

GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03715-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,
                       Defendant.




              PLAINTIFF STATES’ PROPOSED FINDINGS OF FACT
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I.     GENERAL SEARCH ADVERTISING IS A RELEVANT PRODUCT MARKET

       1.      Plaintiff States incorporate by reference the proposed findings of fact supporting

general search services, general search text advertising, and search advertising as relevant

product markets. JFOF ¶¶ 323-521. 1 Plaintiff States allege that general search ads constitute an

additional advertising product market. General search ads differ from other non-search digital

ads, such as social and display ads, for the same reasons that search ads differ from non-search

digital ads. JFOF ¶¶ 398-454. Moreover, advertisers value general search ads and do not

substitute to other types of search ads—i.e., search ads on websites of specialized vertical

providers (“SVPs”).

       2.      Advertisers do not view SVP search ads as sufficiently close substitutes to

constrain Google’s dominant position in general search ads because (1) general search ads are

unique and essential because they reach consumers considering a wider depth of information and

choice of destinations than on SVPs and (2) this difference in demand translates into material

differences in buying patterns, functionality and prices between general search ads and SVP

search ads. Infra ¶¶ 4-65; e.g., Tr. 3862:25-3863:3 (Lowcock) (advertisers do not “view

Amazon ads as substitutes for shopping ads on general search engines”).

       3.      The United States is the relevant geographic market for general search

advertising. Tr. 7047:22-7048:15 (Baker); PSXD-11 (Baker slides) at 4, 41, 128; Tr. 4654:3-24

(Whinston) (opining that the U.S. is the relevant geographic market for general search services,

search ads and text ads markets). Google does not challenge the Plaintiffs’ relevant geographic

market or put forth any alternative.



1
 “JFOF” refers to Plaintiffs’ Proposed Findings of Fact jointly submitted by DOJ Plaintiffs and
Plaintiff States. “Tr.” refers to the trial transcript.

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         A.      General search advertising is unique and essential because it allows
                 advertisers to reach users who are considering an unmatched breadth of
                 choices and destinations

         4.      General search ads are the ads that appear on a GSE results page (“SERP”) in

response to a user query. Tr. 7038:16-7039:6 (Baker); Tr. 6861:10-20 (Amaldoss). The firms

that provide general search services—general search engines or “GSEs”—also sell general

search ads. Tr. 7037:6-12 (Baker).

         5.      The vast majority of general search ads are general search text ads, which

accounted for          of Google’s revenues in 2019. 2 Tr. 7040:9-7041:2 (Baker) (discussing

PSXD-11 (Baker slides) at 33 (citing PSX00866.007)). In 2019,              of Google advertisers

purchased text ads but not any other type of search ad from Google. Tr. 7037:24-7038:15

(Baker) (discussing PSXD-11 at 28 (citing PSX00867.003)).

         6.      For every industry vertical except shopping, text ads account for over          of

Google’s advertising revenues, and over         of revenue in eleven of the thirteen verticals

analyzed. Tr. 7040:9-24 (Baker) (discussing PSXD-11 (Baker slides) at 33 (citing

PSX00866.007). For example, text ads account for             of Google’s ad revenue in the travel

vertical and         of revenue in the local verticals. PSXD-11 (Baker slides) at 33 (citing

PSX00866.007).

         7.      Product listing ads (“PLAs”) are the other major type of ad that appears on a GSE

results page. 3 PLAs, which advertise specific products, relate to the shopping vertical and make

up roughly         of total search ad spend on Google. Tr. 4132:24-4133:18 (Juda)



2
    General search text ads also constitute a relevant product market. JFOF ¶¶ 456-500.
3
 The other types of general search ads include hotel ads and local services ads. Tr. 7038:16-
7039:6 (Baker); PSXD-11 (Baker slides) at 29.

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that somebody is going and initiating the action, going to Google, going to Bing, asking for

solutions”); Tr. 5236:19-5237:23 (Dijk) (general search ads, and specifically Google ads, are

“the exclusive, dominant, you know, pool of high-intent, new customers for [Booking] to find”);

Tr. 6506:22-6507:4, 6515:21-6516:1 (Hurst) (It is “essential” for Expedia to advertise on Google

because “it’s where all the intent is. There’s [] not an opportunity to go buy that many high-

intent consumers to introduce them to your product anywhere else.”).

       9.      Thus, GSEs provide a valuable and distinct market to advertisers—a market that

consists of potential customers who are actively considering the unparalleled breadth of choices

and destinations on a GSE results page. Tr. 483:19-484:4 (Varian) (advertisers buy general

search ads because “they hope to” appear prominently on the SERP); Tr. 3825:12-3825:24

(Lowcock) (advertisers would continue buying general search text ads even if there was a 5%

increase in price because they “would want to continue to capture that intent”); Tr. 7037:13-19

(Baker).

               1.     Advertisers recognize the unique value of reaching users viewing a
                      GSE results page

       10.     Advertisers purchase general search ads to reach GSE users, which is why they

are interested in purchasing whichever type of general search ad benefits their business. For

example, businesses whose interests are advanced by PLAs (like an e-commerce retailer) buy

PLAs to increase their visibility to the same users who see the text ads. James (Amazon) Dep.

Tr. 22:18-23:1 (head of search ad buying at Amazon testifying that Amazon purchases general

search text ads and PLAs because engaging in both “allows us to demonstrate different features

to the potential customer, as well as taking up more pixels, more impressions, if you will, leads

to, you know, higher volume of click-through, which ultimately leads to a higher number of

purchases”); Alberts (Dentsu) 5/10/22 Dep. Tr. 34:18-35:7 (Dentsu clients purchase text ads and


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PLAs for the same products in order to appear “in more than one place on the search engine

results page, which maximizes the chances that your ad, be it a [PLA] or a text ad, may capture

the click of a given search user”); Tr. 5137:12-5138:14 (Booth) (Home Depot purchases text ads

and PLAs on the same SERP because “the SERP has got limited real estate, and so the more that

we can take up that real estate, the higher consideration we would have for somebody to select

one of our ads” and having two ads on a single SERP “doubles” the chances of Home Depot

“appearing prominently” on the results page and, consequently, “winning that customer.”);

Daniels (Thumbtack) Dep. Tr. 69:17-70:10 (Thumbtack purchases Google’s local services ads to

“give [it an] additional shot on goal, on the SERP real estate”).

       11.     Google markets its general search ads collectively by touting their unique ability

to capture demand on its SERP. Google recommends that customers purchase both text ads and

PLAs in order to “own[] the SERP” and get “more potential outcomes in [their] favor.” McAteer

(Google) Dep. Tr. 95:14-96:12; PSX00272 at 409 (“We are moving from a previous narrative of

‘Text + PLAs = Better together’ to ‘Gaining Holistic Search Share by owning the SERP.’”). Mr.

McAteer of Google echoed advertisers’ views that since the GSE results page has finite space, a

retailer has more of an opportunity to “win the click” or “win the consumer” if it purchases both

text ads and PLAs. McAteer (Google) Dep. Tr. 95:14-96:12; 100:10-101:13. Google provided

metrics like “whole page CTR” (click through rate) to measure the effect of purchasing both

types of general search ads. McAteer (Google) Dep. Tr. 100:10-101:13; 111:21-112:18; see also

PSX00555 at -912 (“Evaluate Search Holistically, Focus on owning SERP to gain click coverage

or share”). Google’s economist, Dr. Israel, agreed that general search text ads and PLAs are not

“exactly identical, but they’re filling this overlapping need for the same person” and “that they’re




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close substitutes.” Tr. 8544:5-8545:2 (Israel). 5

       12.     Digital advertisers employ separate teams to purchase general search ads in

recognition of the ads’ unique role. For example, ad agency Dentsu uses separate teams for paid

search (including Google and Bing) and retail marketing (e.g., Amazon). Alberts (Dentsu)

5/10/22 Dep. Tr. 40:23-42:15. At Dentsu, retail marketing is “a separate team because it requires

a different expertise” and “experience and understanding of these partners and these networks

that go beyond the realm of paid search.” Alberts (Dentsu) 5/10/22 Dep. Tr. at 41:5-11. Even

where a retail marketplace gives users the ability to search for a product, “the ads themselves are

not purchased through the mechanisms that paid [general] search teams are familiar with.”

Alberts (Dentsu) 5/10/22 Dep. Tr. at 41:17-42:2. Dentsu’s clients will also typically provide a

separate budget specifically for paid search. Alberts (Dentsu) 5/10/22 Dep. Tr. 49:19-50:3.

       13.     Paul Vallez of SEM tool Skai described different advertising channels managed

by separate teams. For example, Skai has a search team that handles advertising on GSEs like

Google, Bing, and Yahoo! Japan; a social team for advertising on platforms like Meta, TikTok,

Snapchat, Pinterest; and a retail team for advertising on retail websites like Amazon, Walmart,

and Target. Tr. 6583:13-6584:19; PSX01200 at 3 (website showing separate “retail media,”

“paid social” and “paid search” categories for different ad channels). Mr. Vallez testified that

advertisers “set a specific budget per channel.” Tr. 6591:2-6591:5. Home Depot’s paid search

team’s spending on Google and Bing, and between PLA and text ads, are adjusted “daily” and


5
  Hotel ads are another type of general search ad that can, on occasion, appear on the SERP.
Alberts (Dentsu) 5/10/22 Dep. Tr. 66:25-67:15. Dentsu has clients who purchase both text ads
and hotel ads. Id. at 68:23-25. Mr. Alberts testified that “[s]imilar to the benefits described
when a retailer may opt to serve product listing ads as well as text ads, running both hotel ads
and text ads enables these advertisers to have a greater presence across the multitude of results
that are available, which increases the likelihood that a given searcher may come across or
interact with their ad.” Id. at 69:2-11.

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are “interchangeable” but Home Depot does not as frequently or easily reallocate spending from

GSEs to social or display ads because those ad products are “distinct and separate” and managed

by a different team. Tr. 5112:23-5113:16, 5118:12-19; Tr. 5142:14-5143:4; 5181:22-5181:25

(Booth); Tr. 4016:22-4017:4 (Juda) (Google also has employees on separate teams; Dr. Juda

supervises Google PLAs and text ads but not Google display ads).

       14.     The industry distinguishes between general search ads and other ad types so

readily that a separate market has developed for third-party tools for the specific purpose of

buying general search ads and managing GSE ad campaigns. Infra ¶¶ 121-22. The biggest such

tool is SA360. Infra ¶ 151. Other tool providers, like Skai, offer separate tools to purchase

social and ecommerce ads, but those are “different components” of Skai’s SEM tool. Tr. 3984:4-

3984:17 (Lowcock). Despite Skai’s additional features, SA360’s share among SEM tools

continues to rise while Skai’s share dropped. Infra ¶ 151.

               2.      General search ads reach a distinct consumer mindset due to the
                       broader range of choices and destinations available on the GSE
                       results page than on SVP websites

                          a. GSEs and SVPs have complementary search capabilities

       15.     GSEs are “online services that respond to user queries on a wide range of topics,

and they give users choices that come from a broad range of online information.” Tr. 7026:4-22

(Baker); JFOF ¶¶ 325-27. The distribution of general search queries across different industry

segments, or “verticals,” for a two-day period in 2021 demonstrates that queries spanned “a

diverse range of information” with only      of queries in shopping and      in travel (compared

to     in arts and entertainment and       of queries outside the top 15 categorized verticals).

Tr. 7026:4-7026:22 (Baker) (discussing PSXD-11 (Baker slides) at 10 (citing PSX00867.006)).

       16.     The product users receive from an online search are the results to their query. Tr.

8917:18-8918:1 (Israel). Query results offered by GSEs are materially different than query

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results offered by SVPs. For example, on GSEs, more than half of the results pages in that study

contained information from industry segments outside of the segment in which the query itself

was classified. Tr. 7028:17-7029:16; 7030:20-7031:11 (Baker); PSXD-11 (Baker slides) at 17.

This ability to get a “satisfactory responses to multiple queries from multiple sources, all without

switching sites” provides users with “one-stop search convenience.” Tr. 7026:23-7027:25

(Baker). In fact, nearly 65% of user sessions involved searches in more than one vertical

segment. PSX00869.004; PSXD-11 (Baker slides) at 19.

       17.     By contrast, responses to queries on SVPs “are typically from the limited

information available” on the SVP itself (or its limited partners) and only regarding the SVP’s

particular vertical. Tr. 7026:23-7027:25 (Baker); Tr. 3857:18-3858:10 (Lowcock); Tr. 1492:11-

24 (Dischler); McAteer (Google) Dep. Tr. 214:18-215:23, 216:2-11 (classifying the search

features on Amazon and Expedia as “product search engines” akin to Google’s shopping or

travel properties, which do not appear on a GSE results page); Tr. 658:8-23 (Hurst) (Expedia

“return[s] results from its inventory of supply partners. Whereas, Google’s returning results

from anything it has scraped on the internet.”); Tr. 4616:5-4616:25 (Whinston).

       18.     Google’s Chief Economist Hal Varian agrees that Google provides users with

“information from a broad set of information needs [sic]” while SVPs like Amazon produce

“narrower” and “somewhat different results” because they use “different algorithms, different

datasets, different history” and, importantly, “different understanding of the users.” Tr. 184:24-

185:1; 484:20-485:4 (Varian); Tr. 8096:23-8097:7 (Gomes) (Google “covers more categories of

information than does Amazon”); Tr. 1337:20-1338:13 (Dischler) (“[p]eople should be able to

turn to Google for anything”); Tr. 7790:1-7790:18 (Pichai) (Google’s CEO acknowledging that

Google “can give more coverage” than ecommerce websites like Amazon).



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       19.     Simply running the same basic query on a GSE and an SVP demonstrates the vast

difference in the results they provide. For example, in response to the query “UFO,” Google

produced 2 billion results that “came from all sorts of places,” whereas Amazon produced less

than 10,000 results “and they were all things you could purchase” on Amazon, and Expedia and

HomeAdvisor produced no results. Tr. 7031:14-7032:6 (Baker); PSXD-11 (Baker slides) at 21;

PSX00867.007. 6

       20.     The “one-stop shop” convenience of GSEs complements the narrower search

services on SVPs. Users tend to use a GSE to review a broad range of information, then choose

an SVP or other destination, and then look for specific products and services available on those

destination websites. Van der Kooi (Microsoft) Dep. Tr. 257:1-258:5 (users go to Amazon to

find a product and then “go back to a search engine to see if they can find the product more

cheaply somewhere else”); McAteer (Google) Dep. Tr. 122:19-124:16 (Google “give[s]

[customers] choices” on where to buy the product because “many, many retailers want to run

ads” on Google). “[G]eneral search often sends its search users to the SVPs” where they are

“closer to purchase” because the users can generally transact on the SVP, as opposed to a GSE.

Tr. 7033:1-10 (Baker); James (Amazon) Dep. Tr. 106:4-14 (“when a person is shopping on

Amazon and conducts a search on Amazon, that they are more interested in making a retail

purchase on the Amazon store and therefore their query would be more formulated towards

purchase intent”); PSX00005 at -294 (Amazon document: “searchers Come to Amazon for



6
  PSX00867.007 is a table from Prof. Baker’s report and is not admitted into evidence.
However, Plaintiff States and Google agreed and explained to the Court during trial that Plaintiff
States would rely on this exhibit in post-trial briefing, and Google may objection to the
document’s admission. Tr. 9632:7-16. Plaintiff States submit as Exhibit A to this filing a
redacted version of PSX00867.007 and request that the Court only consider the unredacted
portions of this document. Counsel for Google has stated that they do not object to Plaintiff
States’ submission of this document for the Court’s consideration.
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Different Reasons than [Google] Ad Words.”). The largest SVPs get 33-88% of their user traffic

from GSEs, including local services websites (Thumbtack, HomeAdvisor and Yelp), shopping

websites (Amazon, eBay and Walmart), and travel websites (Expedia, Booking and Airbnb). Tr.

7033:1-21 (Baker); PSX00866.020; PSX00866.021; PSX00866.022; PSX00866.023; PSXD-11

(Baker slides) at 25.

       21.     In 2019, Google found that its users that were also Amazon Prime members were

more likely to use Google search. Tr. 8730:23-8731:23 (Israel); UPX0344 at -058 (Project

Charlotte Exec Update); JFOF ¶¶ 385-86. Similarly, use of the Amazon app is positively

correlated with use of Google Search. PSX00562 at -976, -977 (Google Internal Analysis); Tr.

8733:16-8734:13; 8738:7-19 (Israel). Google’s economist, Dr. Israel, conducted an analysis of

queries that were entered on both Amazon and Google. DXD29 at 20. But he conceded that his

analysis would characterize a query as an “overlap” even if a user used the query on Google as a

gateway to a later query on Amazon (i.e., the user typed “blue sneakers” in Google, clicked on a

PLA purchased by Amazon to navigates to Amazon’s website, and then entered another search

on Amazon for “blue sneakers”). Tr. 8918:25-8920:16 (Israel); DXD29 at 20; Tr. 7035:6-

7035:14 (Baker) (opining that the queries overlap because Amazon and Google “work

together”).

                        b.    Because the search capabilities of GSEs and SVPs are
                              complementary, advertisers view ads on GSEs as reaching
                              users that typically have a different mindset than users on
                              SVPs

       22.     In contrast to display and social ads, search ads are unique because they are

shown in response to a query that reveals a user’s real-time intent. Tr. 4852:12-4854:13 (Lim);

Tr. 6587:18-6588:10 (Vallez); Tr. 5220:11-22 (Booth). General search ads are further

differentiated from search ads on SVPs because, given the limited scope of SVP search results


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and the fact that the consumer can actually transact on an SVP site, SVP users are more likely to

be closer to the decision to purchase a product. Tr. 3860:16-3861:5; 3852:1-3853:2 (Lowcock).

General search ads and SVP search ads therefore reach consumers who are typically at “different

stage[s] of their purchase journey.” Tr. 7038:16-7039:2017 (Baker). For this reason, general

search ads and SVP search ads are not considered by advertisers to be reasonably

interchangeable. Tr. 7038:16-7039:2017 (Baker).

       23.     Marketers use the “marketing funnel” to conceptualize different consumer

mindsets. Tr. 6860:1-2; 6875:5-6877:1 (Amaldoss); JFOF ¶¶ 447-54. The marketing funnel

captures the basic axiom that consumers must be aware of a type of product before they can

consider purchasing it, and they must consider a subset of products of which they have become

aware before they can make a purchase. Tr. 6875:5-6877:1 (Amaldoss). This understanding of

basic consumer psychology has not changed over time and applies universally, with very limited

exceptions. Tr. 6875:5-6878:23 (Amaldoss). Marketers routinely use the marketing funnel to

make advertising decisions. PSX00970 at -707; Tr. 5240:9-16 (Dijk); Tr. 6880:4-19 (Amaldoss).

The marketing funnel’s continued utility is in no way diminished by the increased availability of

data today. Tr. 5240:13-16 (Dijk).

       24.     Advertisers balance their ad investments “over time across the purchase funnel so

that [they have a] continuous flow of consumers, from awareness to consideration to purchase.”

Tr. 6871:12-6873:2 (Amaldoss); PSX00970 at -703 (ad agency Tinuiti recommending that a

client increase “share of investment to the upper and mid-funnel to help recruit new users and

nurture existing ones”). Different categories of digital ads complement each other to guide a

customer down the marketing funnel towards a purchase or transaction. Tr. 5122:1-17 (Booth)

(“what most advertisers try to do is try to nurture that consumer journey by showing them a



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bunch of options, presenting that in display or social, and then ultimately leading them down that

transaction path”).

       25.     Advertisers describe display ads and social media ads as “upper funnel” because

they “push” an ad to consumers who are expected to have a lower probability of purchase. Tr.

6588:16-20 (Vallez). Consumers shown display ads and social media ads tend to have a lower

probability of purchase because they are typically engaged in another activity, like reading the

newspaper or watching videos on TikTok. Tr. 6588:16-6589:2 (Vallez). As Mr. Vallez of Skai

explained, “push is where – you may be in what we call lean-back experience. You’re

consuming content. You’re being entertained. And as a result, you’re being pushed ads to you

that may or may not be relevant to your experience.” Tr. 6587:18-6588:7 (Vallez); Tr. 6512:23-

6513:14 (Hurst) (“[on a social media platform] we basically pick a set of characteristics, and then

we run video ads in front of them, usually with the goal of getting them to download our app[]

and engage with our product. On the flip side, when we think about Google, we’re more buying

a query. So someone has expressed intent, and we’re trying to buy them at that moment of intent

to get them interested in our product.”); Tr. 5123:1-23 (Booth); 5241:17-5242:8 (Dijk); Tr.

6884:14-6885:13, 6888:18-6890:3 (Amaldoss) (social media ads and display ads, unlike general

search ads, are served based on the advertiser’s inference of what the consumer may be

interested in but it is not the focus of the consumer’s attention; consequently, display ads are

eight times less effective at causing a consumer to act compared to general search ads).

       26.     By contrast, general search ads are lower funnel and reach users who, in

aggregate, tend have a higher probability to purchase compared to users viewing display ads. Tr.

3824:20-3825:3 (Lowcock) (“Search advertising is lower funnel, primarily intended to capture

intent” and is “not ... substitutable” with display advertising); Tr. 5122:1-20 (Booth) (The Home



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Depot’s paid search advertising team focuses on “lower funnel”); Tr. 6585:20-6586:3, 6586:14-

6587:3 (Vallez) (discussing PSX01200, a screenshot of Skai’s website) (SEM tool provider Skai

believes that general search advertising best captures the intent of users, because “search is more

often than not the last step, one of the last steps” in a consumer’s purchase journey).

       27.     Advertisers consider general search advertising to serve a unique purpose because

they are only shown after a user initiates a query that reveals her “intent or demand.” Tr.

4852:12-4854:13 (Lim); Tr. 6587:18-6588:7 (Vallez). Mr. Booth of Home Depot explained that

“search ads are unique in the sense that somebody is going and initiating the action, going to

Google, going to Bing, asking for solutions.” Tr. 5220:11-22 (Booth). Similarly, Ms. Lim

JPMorgan testified that it and other financial-services advertisers view paid search as the only

“always-on” acquisition channel where the budgets are not “fungible” with other digital ad

products. Tr. 4853:1-4853:4; 4857:7-4858:3; 4858:18-4859:9 (Lim).

       28.     GSE users are more likely to be in a research and consideration mindset compared

to SVP users because of the different search capabilities of GSEs and SVPs. Tr. 6863:13-

6863:19 (Amaldoss); Tr. 8525:6-8530:12 (Israel) (admitting that users utilize GSEs and SVPs

“for different purposes”). This difference in consumer mindsets explains in part why Mr.

Lowcock would not “recommend that clients” use SVP “in place of general search ads.” Tr.

3860:16-3861:9; 3852:10-3853:5 (Lowcock) (users on retail or ecommerce SVPs have “a high

probability and intent to buy” and “typically [] type in the brand and product they’re specifically

looking for” and indicating that the lowest part of funnel is where “you want to send a user to a

place where they can purchase,” which does not include Google, but does include an ecommerce

website or retailer); Tr. 5138:7-14 (Booth) (Home Depot has a “higher likelihood to actually get

[the customer] to convert” once on its website as compared to while on a general search engine);



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PSX00006 at -037 (Skai document: the conversion rate for general search shopping ads is 2.1%

compared to 21.2% for Amazon ads and describing the “opportunity for the brands to buy traffic

in Search and land it in Amazon”).

       29.     In a presentation by the ad agency Tinuiti discussed at trial, CVS, Target,

Walmart, and Amazon appear in the “purchase” stage of the funnel because “[t]hese are all

places where the consumer could actually buy the product.” PSX00970 at -707; Tr. 687:12-

6873:2 (Amaldoss). By contrast, Google and Bing are in the “consideration” phase. PSX00970

at -707; Tr. 687:12-6873:2 (Amaldoss). Tinuiti explains that an advertiser can “leverage brand

searches via Google/Bing as a way to circulate purchase intent back to our e-commerce

partnerships.” PSX00970 at -701; Tr. 6877:2-6877:13 (Amaldoss) (“Google and Bing are a little

higher” in the funnel than SVP search ads in this example and “are playing [a] slightly different

role”); PSXD-10 at 14. This document illustrates that advertisers use general search ads to reach

consumers who may intend to transact but are not yet at a place where they can complete a

purchase, in order to attract them to an SVP or other place of purchase. PSX00970 at -701; Tr.

3808:2-3808:16; 3852:10-3853:5 (Lowcock) (advertisers purchase general search ads to “drive

[users] to the advertiser’s own website or a destination that the advertiser has determined”

including a physical location or “ecommerce” websites like Amazon).

       30.     Google witnesses and documents also demonstrate that SVP users tend to have a

mindset closer to making a purchase than Google users. Mr. McAteer testified that, unlike

Google search ads, Walmart search ads offer advertisers a valuable opportunity to influence a

consumer right at the moment of purchase. McAteer (Google) Dep. Tr. 122:19-124:16; Tr.

1249:12-21 (Dischler) (Amazon users can complete transactions on Amazon, whereas users who

search for a product on Google must navigate to a seller’s website to complete a transaction); Tr.



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485:7-485:23 (Varian) (same); PSX00302 at -858 (“Amazon mainly reaches users at the bottom

of purchase funnel. Google solutions span across the entire funnel, with a focus on influencing

consideration and driving longer-term brand affinity.”).

       31.     Dr. Raghavan similarly was not surprised that “[Amazon] Prime members who in

any way intend to shop at Amazon might come to Google and a do a lot of research on Google

before they do it” because “[r]esearch is one of the things users in the commercial mode do a lot

of on Google.” Tr. 7434:22-7435:14 (Raghavan); see also Tr. 7434:7-9 (Raghavan); PSX00302

at -848 (“Google is where people research – 69% of people start with Google when going to

retail sites and apps on mobile”). A 2016 Google study found that about 70% of Amazon Prime

members visit Google to research, evaluate, and compare prices of products before purchasing

them. PSX00267 at -258, -259; Tr. 7789:19-7791:16 (Pichai) (consumers looking to research

have a mindset higher in the “marketing funnel” than consumers “trying to buy” a product); Tr.

1283:7-1284:22 (Dischler) (discussing PSX00267); Tr. 458:18-458:25 (Varian) (Dr. Varian is

not aware of Google conducting any regular-course empirical analysis of “advertisers switching

their spend between Google search ads and Amazon”).

       32.     Google offers its own specialized vertical products on pages that can be reached

from its SERP, such as hotel ads. These Google verticals are sometimes referred to as Google’s

“meta” product. Advertisers view Google’s meta products as similar to SVPs. 7 According to



7
 There are other metasearch providers like Kayak (which is owned by Booking) and
TripAdvisor. Both Booking and Expedia categorize theses metasearch providers as “price
comparison engine[s]” in a traffic acquisition channel distinct from general search ads. Tr.
6505:12-6506:2, 6507:12-19 (Hurst); Tr. 5311:21-5312:6 (Dijk) (explaining PSX00094 at -698).
Mr. Dijk of Booking explained that metasearch providers like Kayak compete with Google’s
metasearch travel product, but Booking.com does not compete with Google search ads. Tr.
5348:13-5349:24 (Google search ads “are not directly [in] competition [with] Booking”); see
also Tr. 6565:13-19 (Hurst) (“Meta search would be the closest comparable [channel] for

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Expedia’s COO, Google’s “meta product” has “more intent” and when a consumer is using the

meta product to make a booking, “it’s typically a signal someone’s closer to a booking

occasion.” Tr. 6512:1-11 (Hurst); Tr. 9229:13-9230:8 (Holden) (testifying with regards to users

on Google’s travel SVP that “[o]n average, [users on the immersive are] probably closer to

booking ... [and] the advertiser … buying a hotel ad [on the immersive] often is bidding more on

that hotel ad than maybe a text ad because the likelihood of conversion may be higher”).

                      c.      Ads on navigational queries are essential for many advertisers
                              and only available on GSEs

       33.     A navigational query is a query that “contain[s] the name [or URL] of the page

where a user wants to go.” Tr. 185:11-185:19 (Varian). Users typically enter navigational

queries on a GSE “because they haven’t added a website to their favorite or they’re uncertain of

what the actual brand’s website is” or they “don’t want to type in the brand name in the address

bar of their browser.” Tr. 3863:25-3864:8 (Lowcock). Navigational queries are 12% of all

Google’s queries, and many of the most common queries on Google are navigational, such as

“Amazon” or “eBay.” Tr. 8748:22-8749:1, 8922:21-8923:1 (Israel); UPX0342 at -859 (“Top US

Queries”).

       34.     Google often sells general search ads on navigational queries for both the queried

website and that website’s competitors. Tr. 8923:10-8924:3 (Israel). Many of Google’s highest

grossing queries by revenue in the U.S. are navigational—e.g., “hulu,” “aarp,” and “comcast.”

UPX0342 at -859).

       35.     Advertisers routinely engage in this practice of buying general search ads for their



Google’s meta product,” but “[t]he only real comparable for the text ads would be Bing”). Like
SVPs, metasearch providers purchase both text ads and hotel ads on Google. Tr. 9196:18-22
(Holden).

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brand name and the names of their competitors. Ms. Lim of JPMorgan testified that buying paid

general search ads on Chase’s own brand name is “very important,” because it provides a “better

guarantee that we will show up early on the screen” for customers that search Chase’s brand

name. Tr. 4847:13-16 (Lim); Tr. 5277:10-18 (Dijk) (Mr. Dijk of Booking describing how

competitors would bid up other travel companies brand name terms forcing “every company in

the travel industry and outside of the travel industry ... pay[s] money to Google to show up with

their own brand name”). Mr. Alberts of Dentsu recommends that his clients bid on their own

branded keywords because “it’s often in the best interest of an advertiser to ensure that they are

the first result that appears when a user searches for their brand.” Alberts (Dentsu) 5/10/22 Dep.

Tr. 58:14-59:11.

       36.     A firm that does not buy ads against its own brand term risks losing business to a

competitor. This practice of buying ads on queries for a competitor is called “conquesting.” Tr.

3864:19-3865:4 (Lowcock). Advertisers engage in conquesting “in the hope that the user would

click on that [ad]” and go to the competitor instead. Tr. 3864:19-3865:4 (Lowcock); McAteer

(Google) Dep. Tr. 124:18-125:10 (advertisers buy Google general search ads on competitors

because a “customer may choose me versus ... maybe the brand they were looking for”); James

Dep. (Amazon) Tr. 96:17-96:20 (Amazon’s competitors “bid on Amazon’s brand keyword”).

       37.     Conquesting can be effective because a GSE user is considering and researching a

variety of options, allowing competitors to capitalize on a GSE user’s potential indecision and

redirect user traffic to the competitor’s website. James (Amazon) Dep. Tr. 96:17-97:15; Tr.

5279:10-20 (Dijk). Indeed, 20% of Google users shown a competitor’s ad after entering a

navigational query click on the competitor’s ad, which, Dr. Israel admits, indicates a willingness

to go to another site despite entering a navigational query. Tr. 8924:9-22 (Israel) (accepting



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Prof. Baker’s analysis).

       38.     By contrast, navigational queries cannot be run on SVPs because SVPs either do

not display results that allow users to navigate to an external website or, for some smaller

metasearch SVPs, only allow users to navigate to a purchase website. Tr. 8749:2-3 (Dr. Israel

admitting that Amazon does not compete for navigational queries); Tr. 7032:7-7032:25 (Baker).

According to Mr. Lowcock, conquesting occurs more frequently on GSEs than on SVPs—not

only because of the unique presence of navigational queries on GSEs—but also, for broader

branded search queries users on an SVP “know what they are looking for, they intend to buy that

product” on the SVP website itself. Tr. 3865:5-24; 3866:9-20 (Lowcock).

       B.      The difference in advertiser demand for general search ads and SVP search
               ads is reflected by differences in customers, functionality, and prices

               1.      Advertisers across all verticals purchase general search ads but SVP
                       search ads are only usable for advertisers from certain verticals

       39.     General search text ads “can be used to broadly advertise any product or service.”

Tr. 3810:9-3811:1 (Lowcock). Any advertiser who meets the general policy requirements of the

GSE platform can purchase a general search text ad. Tr. 3811:2-5 (Lowcock). Mr. Lowcock

testified that he recommends general search ads for all his clients, regardless of size. Tr.

3841:14-24 (Lowcock).

       40.     Yet ad agency executives also testified that not every one of their clients purchase

SVP search ads. Tr. 3854:9-3855:22; 3861:7-3862:17 (Lowcock); Alberts (Dentsu) 5/10/22 Dep.

Tr. 43:17-44:5. This is because SVP search ads are only usable for advertisers that sell products

or services in the SVP’s particular vertical category. Many product categories lack an applicable

SVP, and advertisers of those product do not buy SVP search ads. Tr. 6864:13-19; 6864:24-

6865:9 (Amaldoss). Instead, they can only reach consumers with a high probability of purchase

by buying GSE ads. Tr. 6864:13-19 (Amaldoss). About              of Google’s general search ad

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revenue comes from advertisers in verticals where there is no major SVP upon which to

advertise. PSX00866.014 (excluding shopping, travel, local/classifieds and consumer packaged

goods).

          41.   For example, financial services advertisers, which comprise       of Google ad

spend, rely solely on GSE text ads (and not other types of search ads) because “there aren’t a

multitude of additional advertising avenues in the search landscape.” Alberts (Dentsu) 5/10/22

Dep. Tr. 178:18-179:17; Tr. 4848:9-11 (Lim) (search text ads are the only search-related ads that

JPMorgan buys); PSX00866.014.

                2.     Many large advertisers purchase general search advertising but
                       choose not to purchase SVP search ads because they compete with
                       SVPs

          42.   Even among the other       of Google’s advertising spend from advertisers that

have access to a major SVP, it remains the case that the largest purchasers of general search ads

are SVPs and retailers that still do not buy SVP search ads. PSX00866.014.

          43.   In 2019, the top five buyers of Google general search ads were all SVPs:



                                                                PSX00867.002; see also Tr.

4614:9-4615:16 (Whinston);                                       Tr. 1249:7-11 (Dischler);

McAteer (Google) Dep. 65:03-65:18; 240:08-240:16 (Amazon spend on Google has been

increasing since 2016); Tr. 7795:19-7795:21 (Pichai); Tr. 9209:1-10; 9210:5-10 (Holden); Tr.

5231:8-14; 5243:22-25 (Dijk) (Booking buys ads on Google in significant amount but not on

Amazon); see also Tr. 3649:10-16 (Nadella) (“In many cases, the most active advertisers on

Bing or in Google will be vertical search engines”); Tr. 7441:1-3; 7582:13-7584:8 (Raghavan)

(discussing DXD-21.005-006) (Overstock, Wayfair, Walmart, Booking and Expedia are some of

Google’s “top advertisers” in purchasing text ads and PLAs); Tr. 7044:15-7045:2 (Baker).
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       44.     SVPs advertise on GSEs because general search ads are “click-out,” i.e., they

bring users out of the GSE to the advertiser’s website, where the user can make a purchase. Dr.

Varian, Google’s Chief Economist, testified that ads on GSEs allow SVPs like Amazon and

Expedia to attract new customers to their website or expose potential customers to a new use for

the SVP’s services. Tr. 479:1-479:20; 483:9-483:18 (Varian). Mr. James testified that for

Amazon, general search ads are “highly incremental for early lifecycle customers,” i.e., new

Amazon customers.




       45.     Mr. Dijk of Booking testified that his company cannot rely solely on users

navigating directly to its website or its app for customer acquisition and growth because

Booking’s offerings are “low frequen[cy] purchase[s]” and it is difficult to stay “top of mind all

the time.” Tr. 5238:22-5239:6, 5275:16-23, 5278:23-5279:9 (Dijk). As a result, Booking relies

on Google for the majority of its new customer acquisition it needs “that kind of high-intent

traffic to come to us to drive the growth of our company.” Tr. 5278:23-5279:9 (Dijk); Daniels

(Thumbtack) Dep. 158:8-159:5 (describing Googles Ads as “a core pillar” of Thumbtack’s

marketing plan to acquire user traffic); Dacey (TripAdvisor) Dep. Tr. 258:17-259:22 (“[i]t would

be incredibly bad” for TripAdvisor to stop buying general search ads on Google and would have

a significant impact on TripAdvisor’s profits, revenue, and users); Osmond (Triptease) Dep. Tr.

45:1-16; Stein (Angi) Dep. Tr. 186:9-187:11 (general search ads are critical for Angi because the

home services category “is an infrequent use case” and “it tends to be that users will go to a

general web search service in order to search for that kind of solution”); Tr. 9177:4-17 (Holden)



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(customers’ purchase decisions in travel are unique in part because “they don’t do it often”).

       46.     SVPs and other retailers also do not typically advertise on other SVPs because

they do not want to promote their products on a competitor’s website. Google documents

recognize this behavior: “Amazon competes directly with many of our biggest PLA/shopping biz

spenders – they will not spend with Amazon, and will continue to buy PLAs (e.g., Target, Home

Depot).” UPX0024 at -371. Mr. Dischler agreed that companies that sell products, such as

Walmart or Target, “advertise on Google, but they don’t advertise on Amazon because they

compete against Amazon for the sale of many of those products.” Tr. 1250:4-11; Utter

(Microsoft) Dep. 36:19-37:14 (Walmart buys PLAs on Google and Bing, but does not buy ads on

Amazon); Tr. 5224:10-23 (Booth); Tr. 3855:20-3856:5-9 (Lowcock); Tr. 7045:3-7045:8 (Baker);

Tr. 4651:12-4653:3 (Whinston).

       47.     By contrast, this concern does not apply to SVPs and retailers buying general

search ads on Google because they “do not see themselves as competitors with Google.” Tr.

3857:13-16 (Lowcock); James (Amazon) Dep. Tr. 102:20-103:1; 108:18-109:1; Tr. 4651:12-

4653:3 (Whinston). Unlike retail SVPs, Google “do[es] not play [a] role in pushing consumers

to make choices” among particular vendors. McAteer (Google) Dep. Tr. 122:19-124:16.

       48.     As discussed below, retail SVPs are also disincentivized from purchasing SVP

search ads by functional differences in SVP search ads (compared to general search ads),

including the requirement to sell on the hosting SVP’s platforms, that the ads must link to an

internal SVP page, and that a cut of the sale is taken by the SVP hosting the ad.

               3.     SVPs’ requirement that advertisers sell on their platform creates
                      functional and economic differences between SVP search ads and
                      general search ads

       49.     An advertiser generally “needs to have their product or services available for

purchase on” SVPs before buying an ad on that SVP. Tr. 3854:9-15 (Lowcock); James
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(Amazon) Dep. Tr. 105:15-106:3 (“an Amazon-sponsored product ad would require ... the

advertiser ... to be selling that product on Amazon”); Tr. 6511:8-23, 6574:15-6575:12 (Hurst)

(Expedia ads are only available to inventory partners operating under Expedia’s commission

model); Daniels (Thumbtack) Dep. Tr. 109:8-109:15; 125:16-127:7 (Thumbtack ads are only

available to service professionals listed on Thumbtack’s website). By contrast, anybody can

purchase a general search ad on a GSE like Google; there is no requirement that the advertiser’s

product or service be available for purchase on the GSE. James (Amazon) Dep. Tr. 105:15-

106:3; Tr. 3851:10-14 (Lowcock); Tr. 6865:10-6866:6 (Amaldoss).

       50.     This requirement that SVP search ads can only be purchased by sellers of

products on the SVP’s website results in several functional differences between SVP search ads

and general search ads: (1) SVP search ads deprive advertisers of important customer

relationships because SVPs direct users to internal transaction pages, not the advertiser’s website

or physical store; (2) the SVP takes a cut of all resulting sales; and (3) the resulting “vendor”

relationship between the advertiser and SVP is different than an advertiser’s relationship with a

GSE. As a result of these functional distinctions of SVP search ads, some large retailers like

Home Depot do not advertise on major SVPs like Amazon because selling on Amazon does not

make economic sense. See supra ¶ 46.

       51.     Customer Relationship: General search ads and SVP search ads differ in where

they direct a user once clicked. General search ads send users “to the [advertiser]’s website,”

either to make a purchase on that website or to encourage the user to go the advertiser’s physical

store. Tr. 3852:10-18 (Lowcock); James (Amazon) Dep. Tr. 104:11-105:8 (If a user clicks on a

Google search text ad or Google PLA, the user is directed to the advertiser’s website); Tr.

9233:15-25 (Holden) (ads for hotels on Google “ultimately link to a partner for that actual



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booking”); Jain (Google) Dep. Tr. 210:15-24 (advertisers on Google “want to drive traffic to

their physical store” or “drive traffic to their eCommerce store”).

       52.     By contrast, SVP search ads on the biggest platforms like Amazon, Expedia and

Thumbtack direct users to a website internal to the SVP where the user can complete a

transaction. James (Amazon) Dep. Tr. 103:9-19 (Amazon ads direct users to product pages on

Amazon); Tr. 6575:5-12 (Hurst) (same for Expedia); Daniels (Thumbtack) Dep. Tr. 126:20-

128:7 (same for Thumbtack); Tr. 1398:3-12 (Dischler) (with Amazon ads, “anytime a conversion

happens, when a purchase event happens, it happens on Amazon,” but with Google ads, “the

purchase event typically happens on the advertisers’ website”).

       53.     This functional difference is important to advertisers. Because general search ads

direct users to an advertiser’s website, those advertisers are able to collect user data that they

cannot collect when users remain on the website of a hosting SVP. As Mr. Lowcock testified,

advertisers prefer to drive a sale on their own website (rather than on an SVP’s website) because

when a user completes a purchase on an SVP, the advertiser “lose[s] access to the data and []

lose[s] access to [its] own customer.” Tr. 3857:18-3859. It is important to advertisers to “have

access to first-party [customer] data because they want to earn that customer relationship.” Id.;

Tr. 4651:12-4653:2 (Whinston) (a difference between general search ads and SVP search ads is

that “many advertisers really care about the consumer coming to their website”); McAteer

(Google) Dep. 189:5-189:23 (recognizing that SVPs know “far more” than Google “possibly

can” about users on their website “because they’re actually transacting on those websites”); Stein

(IAC) Dep. Tr. 120:15-18 (agreeing that “[t]he ability of Angi to capture a customer’s

information is important to [Angi’s] business models”).

       54.     Even manufacturers who do not sell directly to consumers benefit from using



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general search ads to direct consumers to the manufacturer’s website. Manufacturers often use

their websites to provide a list of retailers where consumers can buy the manufacturer’s product.

This user traffic to the manufacturer’s website—even though it does not result in immediate

purchases—“can give the manufacturer more insights about what retailer relationships are more

important, as well as data about that user and what’s driving performance.” Tr. 3861:17-3862:17

(Lowcock); Tr. 1169:12-15 (Dischler) (a benefit of Google ads is “the prospect of receiving

additional traffic to an advertiser’s website or business”). For these reasons, Amazon’s

advertising customers skew towards small and medium sized businesses that do not have their

own website (and thus do not seek to steer users to an external website). DX0231 at -002, -006;

Tr. 1436:4-21; 1501:4-16; 1502:4-1503:4 (Dischler); Utter (Microsoft) Dep. Tr. 37:16-38:8

(Amazon ads and general search ads are “different ad product[s]” because advertisers buy

“Amazon sponsored ads to recirculate traffic within the Amazon platform” but buy PLAs “on

Google and/or on Bing … to go directly to their off Amazon website”).).

           55.   Advertisers are particularly keen to use general search ads to encourage users to

visit the advertiser’s physical store (something they cannot do with SVP search ads) because

customers tend to purchase more at physical stores than at online stores. Google ads can help

advertisers drive such in-person traffic while Amazon ads do not. McAteer (Google) Dep. Tr.

29:16-31:10; 79:09-80:04; 80:05-80:19; 161:08-161:10 (describing how Google can help

retailers drive valuable in-store sales that retailers prefer because of “basket economics,” i.e., that

customers buy more in-store than online); PSX00395 at -255 (Google document: “The Shift to

eCommerce increases pressure on Basket economics”; the “[m]ajority of transactions still

happen in-store and a core differentiator for Google is [the] ability to facilitate these [in-store]

sales”).



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       56.     Cut of Sale: Advertisers realize less revenue from a sale resulting from an SVP

search ad (which is completed at the SVP’s website) than a sale resulting from a general search

ad (which is completed at the advertiser’s website or physical store). As Mr. Lowcock testified,

SVPs “always take a [] margin” when purchases are made on their websites. Tr. 3859:10-3860:4

(Lowcock). It is therefore more profitable for advertisers to sell directly to users through either

their own website or their physical location (both in revenue and because the advertiser can

capture valuable customer data). Id. By contrast, advertisers pay Google when (and only when)

users click on their ads; there are no additional fees due to Google if the user then purchases the

advertiser’s product. Tr. 1176:24-1177:4, 1241:24-1242:4 (Dischler); Tr. 9173:18-9174:19

(Holden).

       57.     SVPs make most of their money from the cut of sales that occur on their websites.

DX0501 at -805 (Amazon’s ad business is only          of its revenue and      of its profit as a

percentage of gross merchandising value); DX0231 at -570 (Amazon captures 5% of gross

merchandising value through advertising, 20% from fulfillment and 13% from referral fees); Tr.

6503:9-6503:19 (Hurst) (Expedia makes most of its money based on a cut of a booking and only

a “small [single-digit] portion” from advertising). By contrast, sales do not occur on Google’s

website at all; rather, Google derives its search revenue through advertising. Tr. 184:11–12

(Varian) (General search engines are funded by the sale of ads); Tr. 1249:12-21 (Dischler)

(cannot complete a retail transaction on Google); Tr. 9233:7-25 (Holden) (cannot complete a

travel booking on Google).

       58.     Vendor Relationship: Finally, advertisers consider their vendor relationships

when deciding whether to buy SVP search ads. As Mr. Lowcock explained, some advertisers

that sell through multiple retailer websites “don’t want to favor one retailer over another” by



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purchasing search ads on a SVP’s platform “because that can hurt [their] overall relationship” for

distribution of products and services. Tr. 3861:17-3862:2 (Lowcock). The relationship between

a manufacturer and an SVP “is complicated” and obtaining “quality [digital] shelf space” can

require an advertiser to “buy advertisements on the [SVP/]retailer’s website.” Tr. 3854:22-

3855:9 (Lowcock); McAteer (Google) Dep. Tr. 124:5-124:16 (“vendor relationships [] are super

important for” retailers.). Advertisers do not have to consider these factors when deciding

whether to purchase general search ads. Tr. 3854:22-3855:9 (Lowcock).

               4.      General search ads and SVP search ads have different prices

       59.     Platforms price general search ads and SVP search ads on a cost-per-click basis,

meaning that an advertiser pays each time a user clicks on the ad. Tr. 1176:6-9 (Dischler). In

contrast, platforms typically price display and social ads on a cost-per-mille (CPM) basis,

meaning advertisers pay a set price for every thousand people who view the ad (regardless of

whether they click on it). Tr. 1194:25-1195:16, 1196:5-14 (Dischler); 5119:13-5120:2 (Booth).

       60.     The cost-per-click prices of general search ads and retail SVP search ads differ

dramatically. For example, Skai calculated that the cost per click of Amazon ads was five times

greater than general search ads in the shopping vertical. PSX00006 at -037. Dr. Israel conceded

that when the prices of general search text ads, Amazon ads, and Instagram ads were converted

to the CPM metric, “[t]here are very large CPM differences between these types of ads.” Tr. at

8461:23-8462:13; DXD29.062.

       61.     Dr. Israel argues that, for digital advertising, measurements of an advertiser’s

return on investment (ROI), return on ad spend (ROAS), or clicks per action (CPA) (ROI, ROAS

or CPA) can serve as a measure of the price of an ad drives advertiser substitution (and thus

market definition). Tr. 8466:20-8467:24 (Israel). These metrics cannot supplant price as the

basis of the antitrust analysis because they are calculated differently by different advertisers and
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they cannot compare different ad types accurately. As Mr. Dischler testified, “[e]very advertiser

has their own definition that they use to calculate ROI.” Tr. 1279:6-12. And Dr. Israel (who

uses the terms ROI and ROAS interchangeably) admitted that it is very difficult to measure ROI

because advertisers have limited data. Tr. 8466:20-8467:22 (Israel).

       62.     This difficulty in measuring ROI is particularly true across different advertising

channels. Tr. 3849:3-14 (Lowcock). In some cases it simply cannot be done. Google concluded

that “cross channel ROI comparisons appear to still be extremely difficult today, even for major

players” and the most sophisticated advertisers’ ROI models were “all over the place.”

PSX00226 at -761, -762 (noting that roughly 40% of CMOs don’t take directly ROI into

consideration). For these reasons, Google concluded internally that “we should be more

concerned about the perception of price/ROI changing within a channel rather than actual cross-

channel ROI comparisons.” PSX00226 at -761.

       63.     Due to these difficulties, Dr. Israel conceded he never calculated the ROI or

ROAS for any ad types. Tr. 8925:8-25. He also conceded that measures of ROAS or ROI were

not dispositive in antitrust market analysis, and that two products can have the same ROI and not

be in the same antitrust market. Tr. 8868:15-21.

       64.     Advertisers’ ordinary course documents show that general search ads and SVP

search ads can have drastically different ROIs and yet advertisers continue to buy both,

indicating that advertisers do not fully substitute between the two products. Indeed, evidence

shows that some advertisers buy more of the ad type with the lower ROI, which shows that ROI

does not dictate their ad purchasing decisions. For example, in 2018, clothing company The

North Face calculated an ROI of         for GSE PLAs and an ROI of           for Amazon ads.

                                          The North Face spent                   on GSE PLAs



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and                  on Amazon marketing. The ROI amounts were about the same the next year:

PLAs had a ROI of          and Amazon ads had a ROI of          . But again, The North Face

continued to spend

             PSX00973 at -037; PSX00976 at -425, -445 (The North Face document: general

search shopping ads have an ROAS of            Amazon ads have an ROAS of           ).

       65.     The North Face’s analysis is not unique. A customer survey conducted by Skai

and Amazon determined that customers purchase both Amazon Sponsored Product Ads and

general search shopping ads even though they have drastically different costs per acquisition

($7.05 for Amazon Sponsored Product Ads vs. $12.82 for general search shopping ads).

PSX00006 at -037.



II.    GOOGLE HAS MONOPOLY POWER IN THE RELEVANT MARKETS

       66.     Plaintiffs’ joint proposed findings of fact explains why Google has monopoly

power in the general search services, general search text advertising, and search advertising

markets. JFOF ¶¶ 522-727.

       67.     Google also has monopoly power in the general search advertising market, based

on both indirect and direct evidence.

       68.     Since 2012, Google has had over 80% market share by spend in the general

search advertising market, and its share has been increasing. In 2021, Google had 92.1% share,

Bing had 5.5%, Yahoo! had 1.7%, DuckDuckGo had 0.3%, and all others had 0.4%.

PSX00867.017; Tr. 7047:22-7048:15 (Baker).

       69.     Google’s high market share is protected by insurmountable barriers to entry,

namely, the ability to create a GSE with sufficient distribution to gain the scale to compete and

be attractive to general search advertisers. JFOF ¶¶ 531-58, 580-85, 608; Tr. 7087:7-22 (Baker).
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Because of these barriers, especially those related to distribution, new entrants into the GSE

marketplace have not had any impact on Google’s market share in the general search advertising

market (all past GSE entrants, except the now-defunct Neeva, were participants in the general

search advertising market). JFOF ¶¶ 526, 576, 603; Tr. 7047:22-7049:1 (Baker).

       70.     Google’s conduct towards SVPs, described below, is direct evidence of Google’s

monopoly power in search advertising markets. Specifically, Google’s monopoly power allows

it to engage in conduct that increases customer acquisition costs for SVPs that advertise on

Google while reducing their ability to advertise with rival GSEs.

       A.      Google limits SVPs’ ability to appear in prominent positions on Google’s
               SERP

       71.     SVPs that advertise on Google want to appear prominently on Google’s SERP in

order to capture more user traffic. This includes placement in Google’s vertical units and other

SERP features. Daniels (Thumbtack) Dep. Tr. 39:5-7, 48:19-49:22, 53:8-14 (“The higher you

appear in Google organic search results, the more traffic you get from Google”; Google’s local

unit is “great real estate to have on the search engine results page” and Thumbtack “would also

love to appear” in it; “if our listings were able to be included in the OneBox, then we would get

additional clicks”); Dacey (TripAdvisor) Dep Tr. 279:13-280:6; Tr. 483:19-484:4 (Varian).

       72.     However, in certain commercial verticals, Google limits the ability of SVPs to

appear in prominent positions on its SERP. Tr. 9210:13-25 (Holden) (travel is “one of our

largest verticals” gaining Google “billions of revenue”); PSX00475 at -046 (Google presentation

describing Google’s focus on building vertical search products in the hopes of “greater

monetization”).

       73.     For example, as Google acknowledges, SVPs cannot appear in the hotel, flights,

or local units on its SERP. Tr. 9244:19-21 (Holden) (SVPs cannot appear in the hotel unit on


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Google’s SERP); Tr. 8340:4-10, 8344:10-11 (Reid) (SVPs cannot appear in the local unit on

Google’s SERP); Silverman (Google) Dep. Tr. 73:20-74:3, 74:19-75:14, 76:13-77:9; Dacey

(TripAdvisor) Dep. Tr. 267:13-269:18; Daniels (Thumbtack) Dep. Tr. 48:19-20, 48:22; Tr.

6903:25-6904:5 (Amaldoss); PSX00933 (Holden Decl.) ¶¶ 12, 25; PSX00845 at 9-10;

PSX00848 at 4-6, 8.

       74.     SVPs also cannot purchase local services ads in their own name; rather, an SVP

must purchase the ad in the name of one of its providers. Tr. 6902:25-6903:24 (Amaldoss);

PSXD-10 (Amaldoss slides) at 39; PSX00838 at 10-11; PSX00840 at 8-10; PSX00848 at 6-7.

       75.     In commercial segments in which Google shows local information on its SERP,

SVPs without a physical presence cannot buy a Local Search Ad showing their own brand names

in Google’s local unit. PSX00932 at 6; PSX00848 at 6.

       76.     Through the introduction of more top-of-SERP text ads and the vertical units that

exclude SVPs, Google has moved the unpaid blue links lower down on its SERP. PSXD-11

(Baker slides) at 48 (comparing 2013 Google SERP and 2022 Google SERP for query

“plumber”); Tr. 7055:21-7056:16 (Baker) (“over time, Google introduced more features to the

SERP that had the effect of pushing down the blue links in general on the page”); Tr. 6902:6-24

(Amaldoss); PSXD-08.

       77.     SVPs have observed the reduction in unpaid real estate on Google’s SERP. See,

e.g., Tr. 5278:12-16, 5287:19-23 (Dijk) (Google has increased the number of ads on its results

page, demoting “natural search results” such that they have become “irrelevant”; “the amount of

keywords and search queries that are being monetized has gone up significantly” while audience

quality “has gone down”); Tr. 6523:16-6524:11 (Hurst) (“And so more and more inventory and

real estate are going to those text ads at the top”); Daniels (Thumbtack) Dep. Tr. 63:8-21; Dacey



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(TripAdvisor) Dep Tr. 262:16-263; Soo (OpenTable) Dep. Tr. 223:15-224:22, 225:6-18;

PSX00021 at -208 (“Local Services Ads compete directly with HomeAdvisor and push organic

listings down the page”).

       B.      SVPs’ resulting loss of organic traffic from blue links has forced them to
               purchase more Google ads to maintain visibility, resulting in increased
               customer acquisition costs

       78.     SVPs have experienced a decline in user traffic from the organic blue links, which

they attribute to Google’s demotion of those links to less prominent positions on its SERP. Tr.

5278:21-22, 5286:21-5287:4, 5293:18-5294:7 (Dijk) (“And then you see that the paid

placements have become far more prominent, and it means that if consumers go to a desktop or a

mobile phone, the only thing they will see on the screen is an ad. You have to scroll down then

to go to the natural search results.”); Daniels (Thumbtack) Dep. Tr. 64:6-17 (the increase in

SERP ads has “reduced the amount of organic and, thus, low cost of free traffic that we get from

consumers”); Dacey (TripAdvisor) Dep. Tr. 263:14-264:9; Tr. 6902:10-24 (Amaldoss);

PSX00039 at -640 (discussing the potential impact of Google making changes to its desktop

SERP and how Google’s earlier changes to its mobile SERP caused a “[b]ig decrease in SEO

traffic” to HomeAdvisor).

       79.     Prof. Baker’s analyses corroborate the accounts of these industry witnesses by

demonstrating that results that appear lower on the SERP receive less user attention.

       80.     Prof. Baker conducted an analysis of users clicking on blue links with and without

the various SERP features that demote those links. Tr. 7057:15-25 (Baker); PSXD-11 (Baker

slides) at 51. This showed that users click on blue links less often when SERP features such as

top text ads, PLAs, and/or vertical units are present. Tr. 7058:20-7060:5 (Baker); PSXD-11

(Baker slides) at 52-53; PSX00867.025. Similarly, Prof. Baker analyzed the rate at which users

click on text ads appearing in different positions on the SERP. His analysis showed that when
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text ads appear lower on the SERP, “they get fewer clicks.” Tr. 7057:15-25 (Baker); PSXD-11

(Baker slides) at 51.

       81.     SVPs appear more frequently than suppliers do in the blue links on Google’s

SERP. Tr. 7057:1-14, 7061:5-7063:4 (Baker); PSXD-11 (Baker slides) at 54-56;

PSX00864.002; PSX00864.003; PSX00864.004. Therefore, when the blue links are pushed

further down the SERP, they are clicked on less often, which “means that less traffic from blue

links goes to the SVPs.” Tr. 7057:1-14 (Baker); PSXD-11 (Baker slides) at 49-56.

       82.     SVPs’ loss of organic user traffic due to the demotion of blue links has forced

them to purchase more ads from Google to maintain SERP visibility, raising their customer

acquisition costs. Tr. 5288:1-11 (Dijk); Tr. 6523:16-6524:11 (Hurst); Tr. 6861:3-6, 6901:9-16,

6904:6-11 (Amaldoss) (concluding that Google’s reduction of SVPs’ visibility on its SERP has

caused SVPs to increase their advertising spend); Tr. 7055:4-20, 7058:3-10 (Baker) (concluding

that customer acquisition costs have increased for SVPs due to Google’s demotion of the blue

links on its SERP); PSXD-11 (Baker slides) at 43; see also Jain (Google) Dep. Tr. 134:2-25

(“Conceptually, the organic clicks are free, and the ad clicks are not free. If the proportion of not

free is increasing, and the proportion of free is decreasing, then in that kind of weighted average,

‘I’ is going up, and the ‘R’ is likely remaining the same, which means a decrease in ROI.”).

       83.     SVPs have described the rising cost of acquiring customers when advertising on

Google. Tr. 5288:1-11, 5293:11-14, 5300:16-21 (Dijk) (Google “has made us pay far more for

the same traffic”; “the reality that we have to pay more, more, and more to get more or less to the

same results or be able to grow our business”); PSX00097 at -193; Tr. 6523:16-6524:25 (Hurst)

(“we had spent a heck of a lot of money on Google for no incremental business value”); Daniels

(Thumbtack) Dep. Tr. 42:25-43:3; Stein (Angi) Dep. Tr. 145:7-24 (explaining that the



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“significant drivers” of rising advertising costs were “the combination of the LSA unit, as well as

the expansion over time and the size of the local [vertical unit] and the inclusion of maps and the

other elements”); Tr. 7050:19-7051:3 (Baker); PSXD-11 (Baker slides) at 43.

       84.     For example, Booking reported that its customer acquisition costs rose by

               between 2015 to 2019 as a result of greater spending on ads attributable to its

reduced visibility on Google’s SERP. PSX00097 at -193; Tr. 7051:8-7052:6 (Baker); PSXD-11

(Baker slides) at 44.

       85.     During roughly the same time period, Vrbo increased its spending on Google

advertising nearly tenfold and received fewer visits from Google. Tr. 6521:21-6523:14 (Hurst)

(“$21 million for 500 million visits [in 2015] versus $290 million for less than 500 million visits

[in 2019]”); PSX00113 at -412, -413; Tr. 7054:12-7055:3 (Baker); PSXD-11 (Baker slides) at 46

(Vrbo’s marketing costs per visitor in 2019 were seven times the cost per visitor in 2016);

PSX00866.028.

       86.     Other Expedia Group brands experienced the same trend as Vrbo, only earlier.

Tr. 6526:15-6527:3 (Hurst). From 2012 to 2019, Expedia’s profit per dollar fell by

meaning its customer acquisition costs increased during that period. At the same time (2012 to

2018), Expedia’s marketing spending per visitor “           essentially, a         percent

increase.” Tr. 7053:7-7054:2 (Baker); PSXD-11 (Baker slides) at 45; PSX00863.004;

PSX00863.005.

       87.     Despite increasing its investment in search marketing, TripAdvisor has been

unable to make up for the decrease in organic user traffic. Dacey (TripAdvisor) Dep. Tr. 263:14-

264:23.

       88.     Google has ignored SVP concerns regarding their rising customer acquisition



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costs and makes little effort to work with SVPs.

       89.     When Mr. Hurst shared data regarding Vrbo’s increased costs during a

partnership meeting with Google, his concerns were not addressed or even acknowledged in the

summary meeting notes. Tr. 6525:1-6526:9, 6530:3-6533:5 (Hurst); PSX00112 at -407, -408.

       90.     According to Mr. Dijk, Booking is “in a benevolent dictatorship [with Google],

which means that we just have to accept any changes that Google makes. There is no discussion.

There’s no kind of real like, oh, do you think this is a good idea or no. We get this imposed on

us. And it’s a fascinating thing when you spend billions, but that’s how it is.” Tr. 5288:12-

5289:3 (Dijk) (Booking’s relationship with Google is “completely one-sided”); Tr. 6529:12-

6530:2 (Hurst) (“collaboration is rare with a kind of one-sided partnership as I experienced with

Google, where you’re more frequently listening to what they say you need to do as opposed to

having an open audience around what you could do together”).

       C.      Despite these increased costs, SVPs continue to buy Google ads because they
               have no meaningful alternatives

       91.     SVPs are some of Google’s biggest advertisers, generating billions in revenue for

Google. Tr. 9209:1-10 (Holden) (“Booking and Expedia are some of our largest advertisers”);

Tr. 5288:18-19 (Dijk) (“And we’re a big company. We spend billions in the past years with

Google.”); Tr. 7044:15-25 (Baker). For many SVPs, much of their user traffic originates from

Google. Stein (Angi) Dep. Tr. 185:4-22 (“Google is by far the largest search engine directing

the most traffic, and far and away the most important”); Soo (OpenTable) Dep. Tr. 109:9-11

(“Google, whether that be Reserve with Google or paid, ranges anywhere between

       ” of user traffic to OpenTable).

       92.     SVPs spend a significant amount on advertising with Google. Expedia spends 10

times more on Google general search advertising compared to Bing, and Google text ads were


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Expedia’s “largest source of spend.” Tr. 6506:3-21 (Hurst); see also Tr. 5231:8-14 (Dijk)

(Booking buys a “very significant part” of its advertising on Google).

       93.     SVPs rely on general search ads to acquire new customers. Tr. 5367:22-5368:2

(Dijk) (“To get to direct growth, we have to invest a lot in new customer acquisition, and the

moment we stop that, you know, it will be very difficult to, you know, build our loyal customer

base”); id. 5275:9-15 (a “very significant amount” of Booking’s new customers come through

Google); Tr. 9226:17-21 (Holden) (“[T]raffic from Google is important to them for attracting

new customers which they hope to invest in or retain over time”).




       94.     As Mr. Dacey of TripAdvisor explained, SVPs need to have a presence on Google

because that is where “80 to 90 percent of searches” start. Dacey (TripAdvisor) Dep. Tr. 285:18-

286:13; id. 259:8-16 (           of TripAdvisor’s user traffic comes from Google); see also

PSX00021 at -204 (Angi presentation describing Google as “a major driver of our business”

responsible for greater than “      of Total SRs”).

       95.     Much of SVPs’ user traffic comes through paid advertising on Google’s SERP.

PSX524 at -241 (“Most clicks to Expedia, Hotels.com and Booking during this period were

paid”); Tr. 9222:21-9223:11 (Holden) (“I guess you could describe it as a significant amount of

traffic is coming via paid outbound links”).

       96.     Amazon and Home Depot conducted tests that showed that stopping their paid

general search marketing would have negative consequences to its business. Amazon’s tests



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showed that Google’s free search        recovered       of traffic that results in a customer order

when it shut down its general search advertising and Home Depot’s tests showed they would lose

     of their total traffic.                                        Tr. 5150:25-5151:24 (Booth)

(discussing PSX00676 at -244).

       97.      That is because ads, particularly text ads, occupy most of the space at the top of

Google’s SERP. See Dacey (TripAdvisor) Dep. Tr. 285:18-286:13 (“we participate in [search

engine marketing] in particular because it’s the first four things that a user would see on a search

engine results page”).

       98.      By contrast, the percentage of user traffic that reaches SVPs via Google’s unpaid

blue links is in decline. Tr. 5286:21-5287:4, 5278:21-22 (Dijk) (“So natural search used to be a

very significant part of our business. It’s now kind of anemic.”); Dacey (TripAdvisor) Dep. Tr.

286:14-287:2 (TripAdvisor cannot rely solely on the unpaid blue links because it would miss

most Google users by doing so).

       99.      Many advertisers have described advertising on Google as essential or nearly so.

JFOF ¶ 586. Booking could not stop purchasing text ads on Google’s SERP and sustain its

business. Tr. 5284: 6-8 (Dijk). Similarly, it would not be “mathematically possible” for Expedia

to forgo advertising on Google. Tr. 6533:6-12 (Hurst). TripAdvisor could “technically” stop or

reduce buying ads on Google, but doing so “would be incredibly bad…for the company” in

terms of the impact on revenues, profits, and users. Dacey (TripAdvisor) Dep. Tr. 258:17-259:7;

see also Stein (Angi) Dep. Tr. 192:10-25 (“as a practical matter,” Angi “cannot stop” purchasing

text ads from Google “[i]n order to continue to … make the business thrive,” and it would not be

practical for Angi to significantly reduce the purchase of text ads from Google); Stoppelman

(Yelp) Dep. Tr. 28:18-29:6 (“Google remains very important to Yelp, and if Google were to



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disappear or the traffic were to disappear, it would have very adverse effects”); Tr. 7049:24-

7050:9 (Baker).

       100.    Google knows that it is an important source of user traffic for SVPs. PSX00299

at -423 (Google internal document: “we expect them to continue to try to grow direct traffic over

time, but in the near term, they would be very challenged to make drastic cuts and find a

replacement source for the substantial lost revenue”).

       101.    Although SVPs’ customer acquisition costs have risen, they continue to buy

Google general search ads because they have no other choice. Tr. 5281:21-23, 5302:7-18 (Dijk)

(“for our high-intent traffic, we do not have a choice but to work with Google”); Tr. 6527:8-14,

6579:23-25 (Hurst); Daniels (Thumbtack) Dep. Tr. 99:8-15, 99:17-24, 100:2-5; PSX00965 at -

306 (“We compromised a lot because it’s Google … This meant that we accepted terms that

ended up being worse than we expected”); see also Tr. 6902:15-24, 6904:6-11 (Amaldoss);

PSX00028 at -609 (“We have no choice to participate [in Google Local Services] because your

market share makes it impossible for us to do anything else”).

       102.    Advertisers cannot advertise effectively on Bing because of its smaller user scale.

Tr. 5281:21-5282:2 (Dijk) (“So even if Bing would be far cheaper, it would really not work for

us, because we really don’t get the scale that we need”); Tr. 6527:8-14 (Hurst) (Vrbo continued

to buy text ads on Google because “there’s not a replacement for the volume and intent of

consumers”); Daniels (Thumbtack) Dep. Tr. 43:23-44:12; Soo (OpenTable) Dep. Tr. 309:11-18.

       103.    The scale difference between Google and Bing is even more pronounced on

mobile. Tr. 5237:24-5238:2, 5282:22-24 (Dijk) (describing Bing’s mobile presence as “zero or

approaching zero”); Tr. 2676:12-21 (Parakhin) (Bing and Yahoo! have only a 3% share of

queries on mobile).



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       104.    The scale asymmetry between Google and its GSE rivals has a self-reinforcing

component: “[O]nce your relative scale is larger, your quality is better so people are more likely

to prefer your results, and advertisers are more willing to come to you so you have more revenue,

and you have more money to invest.” Tr. 2681:25-2682:9 (Parakhin).

       105.    As a result of this scale disparity, advertisers allocate a much smaller fraction of

their advertising budgets to Google’s rivals. OpenTable, for example, views Bing as “an

insignificant part of our business.” Soo (OpenTable) Dep. Tr. 251:19-252:8, 221:3-22, 222:14-

17. TripAdvisor purchases the majority of its general search ads on Google—roughly

      Dacey (TripAdvisor) Dep. Tr. 259:17-260:2, 260:12-25. See also Tr. 5231:15-17 (Dijk)

(Booking purchases advertising on Bing “in a far less significant way”); Tr. 6505:10-6506:14

(Hurst) (Expedia spends “something like 10 to 1 in favor of Google [compared to Bing]”); Tr.

3536:10-3537:7 (Nadella) (“they have a certain amount of friction in working with us because of

our low share”).

       106.    Advertisers, including SVPs, have described their inability to shift spending from

Google to Bing. Mr. Dijk explained that Booking “would gladly spend far more with Bing, but

I’m constrained because the demand is clearly not there.” Tr. 5282:7-12 (Dijk). He added that

even if advertising on Bing were far cheaper, Booking would be unlikely to shift spend to Bing

because the scale is “too small.” Id. 5281:21-5282:2.

       107.    Likewise, Mr. Hurst stated that it is impossible for Expedia to shift advertising

spend from Google to Bing: “I’m actually very confident there is not a way to spend that much

money in Bing and find all the travelers you had in Google by using one instead of the other.”

Tr. 6533:13-20 (Hurst); see also id. 6565:13-19 (“The only real comparable for [Google] text ads

would be Bing, and you wouldn’t be able to redeploy all that money in a similar intent



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environment”).

       108.    OpenTable “could not spend what we spend on Google [text ads] on other search

engines.” Soo (OpenTable) Dep. Tr. 221:3-22, 222:14-17. Similarly, if TripAdvisor were to

shift its spending from Google to Bing, it “would have a significantly negative impact” on its

business. Dacey (TripAdvisor) Dep. Tr. 260:12-25. In the company’s view, it is “doing as much

as [it] can on Bing profitably.” Id. 261:5-22.

       109.    Given the insignificant role of Google’s rivals in general search advertising, SVP

executives pay them little attention. Tr. 6565:20-6566:6 (Hurst) (“The amount of time I spent

talking to Bing in my career was zero. Whereas, with Google, it would have been every month

and every quarter.”); Dacey (TripAdvisor) Dep. Tr. 269:19-271:25 (“my familiarity with Bing is

less significant, given the less significant importance to the business”); Soo (OpenTable) Dep.

Tr. 251:19-252:8.

       110.    Other alternatives fare no better. Booking, for example, tried to reduce reliance

on Google by turning to TikTok and Facebook, but those platforms were not adequate substitutes

because they were “all in the low-intent and medium-intent space.” Tr. 5279:21-5280:9 (Dijk).

The dynamics that created Booking’s dependence on Google apply generally to the online travel

industry. Id. 5284:1-5.

       111.    Google knows that its advertisers have few to no alternatives, which is reflected in

its treatment of advertisers. As Mr. Dijk explained, Google does not have to consider the impact

of its decisions on its biggest advertisers. Tr. 5288:12-5289:3 (Dijk) (“But reality is that we’re in

a benevolent dictatorship, which means that we just have to accept any changes that Google

makes.”); Tr. 6525:1-6526:9 (Hurst); PSX00112 at -407, -408 (Google failed to acknowledge

Vrbo’s concerns about rising customer acquisition costs); see also PSX00299 at -423.



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       112.    Google’s treatment of advertisers, particularly SVPs, constitutes direct evidence

of its monopoly power in search advertising markets. As Prof. Baker explained, “these SVPs

experienced higher customer acquisition costs because of the way the blue links were demoted

on the SERPs. And they still found that they—it necessary to buy Google’s general search ads

and general search text ads ... And therefore, that’s [] direct evidence of Google’s market power

in the two advertising markets.” Tr. 7064:5-19 (Baker).



III.   GOOGLE’S SA360 CONDUCT HARMS COMPETITION

       113.    Google operates its SEM tool, SA360, to further entrench its search advertising

monopolies, which are already insulated from competition by Google’s exclusionary distribution

contracts.

       114.    SEM tools allow advertisers to manage general search ad campaigns across

multiple GSEs, and are an important channel by which Google’s GSE rivals attract customers.

Infra ¶¶ 119-30. Although SEM tool users benefit from and demand consistent cross-engine

feature support, Google does not provide that benefit to its SA360 customers. Infra ¶¶ 131-43.

Instead, Google relies on its advertising monopolies to insulate its operation of SA360—whether

prioritizing its own features or delaying comparable features for GSE rivals—from competitive

responses, such as advertisers spending less on Google Ads. Infra ¶¶ 144-53.

       115.    SA360 has supported auction-time bidding for Google Ads since 2019 and

decided not to support Microsoft Ads auction-time bidding. Infra ¶¶ 185-86, 240. It has done so

despite abundant contemporaneous evidence that auction-time bidding is demanded by

customers and highly efficient, and without plausible evidence of technical or resource

constraints. Infra ¶¶ 195-206, 273-80. Google also delayed other key Microsoft Ads features

and will continue to operate SA360 to favor its own search engine in the future. Infra ¶¶ 244-55.
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       116.    Google’s ability to operate SA360 to further harm competition flows directly

from the exclusionary effects of its distribution contracts. The defaults obtained through the

distribution contracts give Google massive user scale advantages over its rivals. JFOF ¶¶ 978-

84. This in turn depresses advertiser demand for those rivals because GSEs need a large user

base to improve the quality and return on investment of their ads and attract advertiser

customers. Id. ¶¶ 159-207, 985-1060. The exclusionary effects of the distribution contracts also

make advertising on Google indispensable, which allows Google to incur fewer costs when it

degrades SA360’s support for advertising on rival GSEs despite the harm to Google’s own

customers. Infra ¶¶ 144-53.

       117.    Google can engage in this conduct because its existing monopoly power makes

use of SA360 “sticky”: advertisers reliant on Google general search ads are reluctant to switch to

SEM tools that provide inferior support for advertising on Google, even though other tools

provide far better support for advertising on rival GSEs. Infra ¶¶ 150, 260. It is also costly and

inefficient for advertisers to switch SEM tools or use multiple tools concurrently. Infra ¶¶ 154-

56.

       118.    Google is thus able to use SA360 to artificially protect and grow its already

dominant share in search advertising markets. Infra ¶¶ 144-53. In so doing, it harms both its

own customers whose cross-engine ad campaigns perform worse, and its GSE rivals by

hindering their ability to attract customers and effectively compete. Infra ¶¶ 256-70.

       A.      Advertisers use SEM tools to manage ad campaigns across multiple GSEs

       119.    Advertisers use two primary methods to bid in ad auctions and place search ads

on GSEs: native tools and search engine management tools, also called “SEM tools.” Tr.

6907:21-6908:20 (Amaldoss); PSXD-10 (Amaldoss slides) at 47.

       120.    Native tools allow advertisers to place ads with one particular GSE. For example,
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Google’s native tool, Google Ads, can only place ads on the Google search engine and

Microsoft’s native tool, Microsoft Ads, can only place ads on the Bing search engine. Tr.

1229:16-19 (Dischler); Tr. 6592:23-6594:5 (Vallez).

       121.    By contrast, SEM tools allow advertisers to plan, manage and optimize their

search advertising campaigns across multiple GSEs. Tr. 1232:16-18 (Dischler) (“An SEM tool

is a centralized tool used for management of search ad campaigns across multiple platforms”);

Tr. 3867:8-3868:4 (Lowcock); Tr. 5153:7-5154:21 (Booth); Tr. 6593:3-6594:13 (Vallez)

(“[U]sing as SEM tool like Skai, an advertiser could use one interface to manage their ad

campaigns on multiple search engines”); Tr. 6747:7-10 (J. Krueger) (“Search Ads 360 is a search

engine management platform that allows advertisers to manage and view and optimize across

any of the search engines that they care to utilize”); Tr. 8912:8-11 (Israel); Alberts (Dentsu)

5/10/22 Dep. Tr. 78:10-80:5; Indacochea (Microsoft/Google) Dep. Tr. 37:15-21.

       122.    For example, the SEM tool Search Ads 360 (commonly called SA360), can be

used to create and manage ad campaigns on the Google, Bing, Baidu, DuckDuckGo, Yahoo! and

Yahoo! Japan search engines. PSX00460 at -904 (SA360 is “built to integrate search platforms

like Google Ads, Microsoft Ads (fka Bing Ads), Yahoo Japan, Baidu etc and manage them all

with a few clicks”).

       123.    Ads on DuckDuckGo and Yahoo! are placed through the Microsoft Ads native

tool. Tr. 1939:13-23, 1942:17-25 (Weinberg); Ramalingam (Yahoo!) Dep. Tr. 305:3-24.

       124.    Besides SA360, the other major SEM tools in the United States are Skai (formerly

called Kenshoo), Marin, and Adobe. SA360 is owned by Google, and was acquired from a

company called DoubleClick over ten years ago. Tr. 1235:10-12. None of the other major SEM

tools is owned by the operator of a GSE. Tr. 6591:6-24 (Vallez); Tr. 8598:14-18 (Israel);



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Indacochea (Microsoft/Google) Dep. Tr. 37:15-21.

       125.    The primary value proposition of an SEM tool is the ability to use a single

platform to manage ad campaigns across multiple GSEs. For this reason, an advertiser that only

wants to advertise on a single GSE would have little use for an SEM tool. Tr. 1237:15-22

(Dischler) (most advertisers using SA360 “benefit from cross-engine support”); Tr. 3728:4-16

(Ramaswamy) (an SEM tool is a “one-stop shop by which an advertiser could buy advertising

across Google search, Bing search, and then over time things like Yandex”); Tr. 4425:23-4426:3

(R. Krueger) (“SA360’s [cross-]engine biding strategy is one of the value props [customers] pay

for; and if we cannot show stronger performance, the investment with SA360 will come under

scrutiny”); Tr. 6593:3-6594:13 (Vallez) (SEM tools help advertisers “drive their performance by

adding optimization on top of what the native applications do,” including “efficiencies across …

search engines”); Utter (Microsoft) Dep. Tr. 87:20-25; Tr. 8903:12-16 (Israel) (“Google’s value

proposition for SA360 for advertisers is that SA360 provides cross-engine support for search

advertising”); Tr. 6908:9-6909:14 (Amaldoss).

       126.    Google’s public statements and marketing materials promote SA360 as a way to

manage all of an advertiser’s general search ad campaigns on a single platform, and 90% of all

spend on SA360 is from customers with both Google Ads and Microsoft Ads campaigns.

PSX01254 at -853; PSX00460 at -898 (“With SA360, you can create and manage your search

advertising accounts in one place at the same time. Additional tools allow you to plan, forecast,

activate and automate across all of your search engine marketing to achieve the optimal results

for your business objectives”); PSX00631 at -451 (“Search Ads 360 is Google’s search

management platform that delivers improved performance and time savings via customizable

enterprise features focused on [cross]-engine campaign management”).



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       127.    SEM tools are particularly useful for large advertisers and ad agencies, which

often run “hundreds of campaigns” with “thousands of keywords” and “hundreds of ads”

simultaneously across multiple GSEs. Tr. 4733:1-5 (Varia); Tr. 5141:7-8 (Booth) (Home Depot

has “thousands of different campaigns, some on Google, some on Bing, some elsewhere”) 8; Tr.

6592:20-22 (Vallez) (SA360 is used by 90% or more of advertising agencies); PSX00789 at -632

(Microsoft presentation: “Large percentage of sophisticated clients rely on [SEM tools] for ease

of budget and campaign management reporting”); PSX01117 at -014 (“More than               of

[Microsoft advertising] revenue under influence across [SEM tools] is managed by agencies”). 9

       128.    For this reason, much of SA360’s business is from large ad agencies and large

corporations. Internal Google documents state that, in 2019, “[a]gencies represent         & LCS

[Large Customer Sales] represent[ed]         of all SA360 business” and “        of SA360 spend

comes from        of customers.” PSX01203 at -991, -992; see also PSX00224 at -464 (“Over

     of LCS advertiser spend is now managed by a SEM tool, and in our most mature markets

(US & GB) this number is as high as           PSX00502 at -718 (“This is why [SA360] exists in

the first place – so that large agencies and advertisers can meet their search campaign

management and reporting needs working in one unified product”); Utter (Microsoft) Dep. Tr.

241:17-22 (“virtually every agency” uses SA360); Indacochea (Microsoft/Google) Dep. Tr.

125:20-126:8; Tr. 8898:12-16 (Israel).

       129.    SEM tools, and particularly SA360, are competitively important for Google’s

smaller GSE rivals because advertisers that use SEM tools are more likely to advertise on both



8
               is one of SA360’s          direct advertising customers. PSX01203 at -992.
9
 Companies that offer SEM tools are referred to in this document and others as “TPs” or “tool
providers.”

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Google and on smaller, rival GSEs. Tr. 3179:12-15 (Tinter) (“Instead of having to support a

campaign in Bing and a campaign in Google, [an advertiser] can support it in a [SEM] tool

provider, and then it extracts for [the advertiser], it lowers the sort of fixed costs”); Tr. 6596:3-7

(Vallez); Heath (Microsoft) Dep. Tr. 142:12-143:8, 274:3-18; PSX00738 at -033 (Microsoft

presentation: “Without [SEM tool] support we introduce friction and see lower adoption. …

Independent [SEM tools] can be key partners in driving demand.”); Tr. 7098:4-15, 7108:1-13,

7121:2-22 (Baker) (“An advertiser that uses an SEM tool has chosen to use a tool that facilitates

advertising on multiple general search firms. … And so they are the advertisers that are the best

targets for a firm like Bing that wants to encourage advertisers to switch from Google to them.”).

       130.    SEM tools, and again particularly SA360, are an important source of ad revenue

for GSEs. In 2020, 31% of general search ads revenue on Google and Bing came through a

major SEM tool. Of that, 76% was on SA360, up from 41% in 2016. PSXD-11 (Baker slides) at

73 (citing PSX00867.004).

       B.      Advertisers using SEM tools like consistent cross-engine feature support

       131.    Advertisers that use SEM tools generally want the tool to provide consistent

features and support for advertising on different GSEs. Any differences introduce friction and

cause cross-engine campaign management to be more difficult and less efficient. Tr. 6634:22-

6635:12 (Vallez) (Skai’s customers “generally want comparable feature support on Skai when it

comes to advertising on Google versus advertising on Bing”); van der Kooi (Microsoft) Dep. Tr.

205:22-206:5, 243:23-244:2 (“If there was advertiser demand for the same features on the

Google search platforms, there would obviously be demand from those same advertisers on the

Bing platform because advertisers want nothing more than one uniform way of managing all

their search money. So they want the same features, they want the same functionality. … The

more similar an advertiser can make their campaigns and the way that they participate in Google
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through SA360 to how they participate on Bing through SA360, the more efficient it is.”); Tr.

3494:10-23, 3538:7-25 (Nadella); Heath (Microsoft) Dep. Tr. 50:10-17, 142:12-143:8;

PSX00732 at -375 (advertisers “want the same experience in Google and Microsoft Ads,

otherwise friction to Microsoft Advertising”).

       132.    Google employees recognize that customers want SA360 to have consistent

feature support across GSEs. For example, one SA360 employee expressed a “long term

concern” of “a negative perception about SA360 as an Enterprise SEM platform if we are unable

to demonstrate parity with engine features and stronger performance.” PSX00441 at -903; see

also PSX00445 at -184 (SA360 memo: “Basic feature parity with Microsoft Ads is commonly

requested by clients …                                     are a few clients top of mind that have

brought this up”); PSX00442 at -930 (“Unless we [SA360] are able to deliver stronger

performances relative to Microsoft ATB, the advantages we have laid out does not improve our

business case in the immediate term”); DX0195 at -977 (“Customers are asking for expanded

feature support for Google and parity in Bing”).

       133.    Thus, SEM tools serving the interests of their customers seek to provide

consistent cross-engine support for the most popular features that optimize ad campaign

performance. Lien (Marin) Dep. Tr. 108:2-6 (“Marin is aiming to provide comparable support to

[search engine] A and [search engine] B. So if we enable, say, audience management in Google,

we would look to do the same in Microsoft.”); Tr. 6634:22-6635:12, 6662:17-6663:1 (Vallez).

       C.      Unlike independent SEM tools, Google has a strong incentive to operate
               SA360 to favor its own search engine

       134.    SEM tools, including SA360, charge a fee to place general search ads, whereas

native tools do not charge a separate fee. Tr. 1237:8-10 (Dischler) (“Google charges a fee to

advertisers for utilizing SA360”); Indacochea (Microsoft/Google) Dep. Tr. 130:17-19, 161:4-11


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(SA360 charges a fee “based on media spent across … all the engines that we support in

SA360”); Tr. 4410:25-4411:3 (R. Krueger); Tr. 7102:15-7103:24 (Baker); PSXD-11 (Baker

slides) at 87.

        135.     An SEM tool is independent if it neither owns nor is owned by any of the GSEs

on which it helps customers place ads. Skai is one example of an independent SEM tool. Skai is

the second largest SEM tool after SA360, but it is a significantly smaller company than Google

and has a much smaller share of SEM tool revenue. Tr. 1285:13-18 (Dischler); Tr. 6592:8-14

(Vallez) (“Search Ads 360 is probably ten times the size of Skai in terms of search footprint”).

        136.     Customers value Skai’s independence because it is “a neutral third party who is

giving [advertisers] advice that is not again biased towards one [search engine] versus the other.”

Tr. 6601:3-15 (Vallez).

        137.     Skai prioritizes feature development based on customer feedback and seeks to

provide consistent feature support for advertising on multiple GSEs, which reduces friction and

makes it easier for customers to manage spend between Google and Bing. Skai actively

collaborates with both Google and Microsoft (along with other search engines) to support native

tool features provided by those search engines. Tr. 6590:14-22, 6633:20-6635:12, 6666:7-14

(Vallez) (Skai “create[s] workflows that allow [advertisers] to do a task [in Google] and bring

parity to how that task is done in Microsoft”).

        138.     Marin is also an independent SEM tool and likewise “aim[s] to provide

comparable support” to the different GSEs it supports. Lien (Marin) Dep. Tr. 108:2-6. Notably,

independent SEM tools like Skai and Marin are incentivized to and in fact seek to support

advertising on non-Google GSEs despite the depressed demand for those ads caused by Google’s

distribution contracts. Supra ¶ 116; infra ¶¶ 282-84.



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       139.    By contrast, SA360 is in a highly conflicted position of being owned by Google,

which operates the dominant GSE on which SA360 is used to place and manage general search

ads. Heath (Microsoft) Dep. Tr. 139:11-22 (“SA360 has a unique place in the marketplace …

given their relationship with their parent company and Google and the deep integration with

Google Ads, they are in a unique position relative to the other three [SEM tools]”).

       140.    When an advertiser uses SA360 to buy a general search ad on the Google search

engine, Google receives both the SA360 fee and revenue from the search ad. By contrast,

Google receives only the SA360 fee when an advertiser uses SA360 to buy a general search ad

on a GSE other than Google. Tr. 7102:15-7103:24 (Baker); PSXD-11 (Baker slides) at 87.

       141.    Google’s average profits from the placement of general search ads on Google are

substantially higher than SA360’s average fees. Google’s average profit on a $100 ad placed on

Google search with SA360 is around                for the ad itself and about          for the

SA360 fee. PSXD-11 (Baker slides) at 87 (citing PSX00864.006); Tr. 7102:15-7103:24 (Baker).

By this measure, Google makes over         times more profit from selling general search ads than

from SA360 fees. Id.

       142.    Because Google receives vastly more profit when SA360 is used to place ads on

the Google search engine compared to other GSEs, Google is highly incentivized to use SA360

to steer advertisers to place ads on Google search. Tr. 3728:24-3729:5 (Ramaswamy) (“Because

Google was both a big platform for search, but then now was creating a product meant to

represent advertiser interests across a set of search platforms, there definitely was concern on the

part of lots of people”); Tr. 4354:13-21 (R. Krueger) (Google presentation acknowledging the

“perceived bias that SA360’s vested interest in increasing Google spend compromises its

recommendations and bids”); van der Kooi (Microsoft) Dep. Tr. 202:9-17 (“SA360 had a clear



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incentive to not stay up to date with the feature development of Bing”); Tr. 7105:4-8 (Baker)

(“Google also has an incentive to protect its ad profits from decreasing and protect its market

power from erosion, and that incentive dominates here. Again, that would mean – and that’s

why Google wouldn’t want to enable all of the Microsoft Ad features necessarily.”).

       143.    Google recognizes that it can use SA360 to drive increased revenues and profits

for its general search ads business. PSX01251 at -994 (“Overall, Search Ads 360 adoption has

had a strong positive correlation on revenue”); id. at -998 (“With a      uplift, SA360 is

expected to drive          incremental search revenue in 2018”); PSX00631 at -452 (“Search

Ads 360 value for Google” is that it can “future-proof Search growth”); Id. at -462 (“Customers

who use SA360 have a 2.5% increase in Google spend” compared to using native tools);

PSX00224 at -464 (“[SA360] has significant advantages for Google … drives higher adoption

for other Google products … For these reasons, it is strategically important to Google to sustain,

and if possible, accelerate [SA360] growth”).

       D.      Google’s monopoly power and SA360’s stickiness allow Google to prioritize
               SA360 support for Google Ads features

       144.    As described above and in Plaintiffs’ joint proposed findings of fact, for years

Google has had monopoly power in search advertising markets, including high market share and

insurmountable barriers to entry. Supra ¶¶ 66-112; JFOF ¶¶ 522-727.

       145.    Google’s dominant monopoly power means that advertising on Google is

essential for digital marketers, who rely heavily on Google to acquire new customers and lack

meaningful alternatives. Supra ¶¶ 44-45, 78-112; JFOF ¶¶ 586-88; Tr. 5141:19-5143:24 (Booth)

(Home Depot places 90% of its search ads budget on Google—an amount that is “industry

standard”—and has never “considered stopping its purchase of text ads on Google”); Tr.

6594:17-6595:25, 6636:1-14 (Vallez) (“Because Google has the majority of the search volume,


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[advertisers] start and spend most of their time with Google”); Tr. 4715:11-15 (Varia) (in 2021,

85-90% of the spend on SA360 went to Google Ads); Alberts (Dentsu) 5/10/22 Dep. Tr. 25:9-24

(Google receives about 88-90% of search queries in the U.S. and ad agency Dentsu’s

“percentage of business … on Google for the paid search team is roughly proportional to

[Google’s] market share”); van der Kooi (Microsoft) Dep. Tr. 33:15-34:7 (“Google is a 90

percent search player in the U.S.”); Lien (Marin) Dep. Tr. 107:10-15, 175:22-23 (“because

Google … was 80 percent or so of all the search spend in the world, they, kind of, set the

standard. … [A]bout      percent of Marin’s spend is on Google.”); Tr. 6917-18 (Amaldoss); Tr.

7108:1-7109:3, 7049-50 (Baker) (“SA360 advertisers, like all advertisers or like many

advertisers … find it attractive to advertise on the general search firm that has the high share”).

       146.    Google’s market dominance depresses advertiser demand for rival GSEs and also

depresses SEM tool interest in supporting non-Google GSEs. PSX01117 at -006 (“Low Bing

Ads market share minimizes relevancy to [SEM tools]”); Utter (Microsoft) Dep. Tr. 257:12-18,

259:20-24 (“Google has more consumer eyeballs. Advertisers en masse will be attracted to that.

So they will get more advertisers; more campaigns.”); PSX00586 at -229 (Google document

listing SA360 strengths: “When lion’s share of search campaign will be on Google, users

generally see less value in 3rd party platforms”).

       147.    Advertisers’ reliance on Google means that they will tend to use the SEM tool

that offers superior support for Google Ads features, even if that tool offers inferior support for

other smaller GSEs. Google is thus able to obtain and keep SA360 users by prioritizing Google

Ads features, even while failing or delaying integration of features for competing GSEs,

including Bing (as described infra ¶¶ 217-55). PSX00631 at -452 (“Search Ads 360 value for

Google” includes a “platform that … prioritizes Google features. SA360 is first to market on



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key Google Ads features.”); PSX00482 (“Google builds our tools to assist advertisers with their

advertising campaigns, measurement, optimization primarily on Google’s platform; and in some

cases these tools can work cross platform but may not be optimized across all platforms”); Tr.

3869:10-12 (Lowcock); Heath (Microsoft) Dep. Tr. 139:11-141:12.

       148.    Google operates SA360 to have the greatest support for Google Ads features

compared to other SEM tools, including releasing a new version of SA360 in 2022 (with internal

codename “Project Amalgam”) for the primary purpose of providing day one support for new

Google Ads features on SA360. PSX00631 at -454 (“Search Ads 360 value for clients … First

& best on Google Ads”); Tr. 1248:15-17 (Dischler) (the “primary customer benefit” of Project

Amalgam is “better support for features within Google Ads”); Miller (Google) Dep. Tr. 51:10-

25, 248:8-15; PSX00224 at -464, -465 (goal of Project Amalgam is to give SA360 “complete

feature parity” with Google Ads and “support for every single [Google Ads] feature, the day that

is released in [Google Ads]”); PSX00228 at -894 (Project Amalgam will allow for “New features

available to Google Ads and SA360 users same-day”); Tr. 6636:8-14 (Vallez).

       149.    While Google in fact prioritizes SA360 support for Google Ads features, it

publicly—and incorrectly—claims that SA360 is a “neutral” platform for advertising on Google

and on other GSEs. Tr. 1236:14-18, 1245:22-1246:3 (Dischler) (“Google was representing that

no matter where an ad was going to appear, no matter what GSE it was, that if you used

Google’s SEM tool, it would be a, quote, neutral third party”); Tr. 3729:23-3730:3

(Ramaswamy) (Google represents that SA360 “operates in [advertisers’] best interest,” including

“things like distribution of spend across platforms”); PSX01109 at -093 (SA360 memo: “We

believe in analytics-based marketing – on Google, Bing, Yahoo, and any other network or

platform that delivers accountable results online. We want online advertising to continue its



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growth trajectory and will always be a neutral third party…”).

       150.    Other SEM tools cannot offer day one support for Google Ads features or the

same level of support for Google Ads features as SA360. This makes use of SA360 “sticky” and

makes it more difficult for other SEM tools to attract customers that principally advertise on

Google. Tr. 6636:8-14 (Vallez) (“[G]reater support for Google features on SA360” makes it

“more difficult to persuade advertisers to switch to Skai from SA360. … Oftentimes advertisers

will – even if the advertiser is not planning to use a full set of features, they oftentimes look at

the depth of feature support to understand how committed you are to a given publisher....”);

Heath (Microsoft) Dep. Tr. 140:12-141:12 (“There have been occasions where Google Ads was

releasing features or making changes that, because of the integrations that Search Ads 360 and

Google had minimum draw on SA360 resources, but very heavy draws that we were hearing

from the other tool provider partners”); Tr. 6917:23-6918:12 (Amaldoss).

       151.    By Google’s own calculation, SA360 had an 83% share among SEM tool

provides in 2020, up from less than 10% a decade earlier. PSX00450 at -888; see also id.

(“SA360 has served to disintermediate 3P SEM Tools, which at the beginning of the previous

decade were on track to become the primary interface by which customers would buy Google

Search Ads”); Tr. 6592:10-14 (Vallez) (“We would expect that Search Ads 360 is probably ten

times the size of Skai in terms of our search footprint. … Adobe is maybe a third of where we’re

at in terms of our search spend, and Marin is probably maybe … 10 to 20 percent the size of

Skai.”); Alberts (Dentsu) 5/10/22 Dep. Tr. 77:23-78:2 (“Greater than 90 percent” of Dentsu’s

“search engine management platform use is SA360”); van der Kooi (Microsoft) Dep. Tr. 240:17-

241:19; Heath (Microsoft) Dep. Tr. 139:11-14; PSX00631 at -453 (“SA360 is the #1 SEM tool

and larger than all other tools combined. … SA360 is Google’s largest 3P (API) buying door for



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search.”); PSX00434 at -803 (SA360 has 62% share among SEM tools in May 2019, up from

22% in March 2014); PSX00436 at -247 (“Search Ads 360, our enterprise Search Ads buying

product, is the primary interface used by customers representing          in Google Ads annual

revenue. It’s clearly #1 in the product space.”); Tr. 7095:1-24 (Baker).

        152.    Microsoft’s general search ad business has become increasingly dependent on

SA360 as SA360 has grown—even though Google limits SA360’s support for advertising on

Bing, as described below. As Microsoft employee Shirley Heath put it, “SA360 seems to have a

choke point on our business.” PSX00739; see also Heath (Microsoft) Dep. Tr. 142:12-143:8

(“SA360 is critical for – given their size, they have an opportunity to have a lot of impact in the

marketplace. … [M]any clients they have who access the Microsoft Advertising marketplace and

the unique audience that we [Microsoft] have, if they [SA360] don’t support it, it introduces

friction and it creates extra costs and work for their clients to access [Microsoft’s]

marketplace.”); Utter (Microsoft) Dep. Tr. 150:13-151:16 (“Search Ads 360 is by far the largest

and most influential tool provider in the Bing Ads ecosystem”); PSX00768 at -211 (“SA360’s

market position and their support, or lack thereof, of [the Microsoft Ads] platform has a

significant impact on client’s access to Microsoft Advertising features and audience, which in

turn drives client ad performance”); PSX00712 at -635 (“SA360 is the [SEM tool] category

leader, with over                                 Lack of support in their platform introduces

friction for clients and will influence adoption of features that benefit clients. [Microsoft Ads]

exposure to SA360 is large, a swing of        will represent          cost to [Microsoft Ads].”).

        153.    In 2021,      of Bing’s general search ad revenue was placed through an SEM

tool (up from       in 2016) and about        of its revenue was placed through SA360 (up from

about      in 2016). PSXD-11 (Baker slides) at 74-75; Tr. 8596:9-12 (Israel) (“SA360 makes



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up a … reasonably large share of total spending on Bing ads”).

       E.      Advertisers rarely switch SEM tools or use multiple tools concurrently

       154.    Advertisers rarely switch SEM tools because it requires significant time, effort

and expense. Tr. 3873:21-3875:25 (Lowcock) (Interpublic’s clients rarely switch SEM tools

because there are “cost barriers” and “switching to a new platform means you effectively need to

retrain the machine which comes at some risk”); Tr. 5163:11-5164:18, 5211:15-5212:21 (Booth)

(“[I]t can be painful to move from a [SEM tool] to another,” requiring “a big investment” into

“retraining,” “retooling,” and a “cumbersome and painful process” that can cause loss of

“historical conversion data”); Tr. 6603:1-6604:17 (Vallez) (“The more complex your advertising

program is, the more difficult it is to switch. And so there’s some barriers out there for switching

based on the size, complexity, and scale of your program.”; switching SEM tools requires

“additional employee training” and “redo[ing] the conversion tracking and integration”); Alberts

(Dentsu) 5/10/22 Dep. Tr. 81:7-82:24 (switching SEM tools entails “a hard cost,” “an incredible

amount of effort,” and “considerable man hours … for both the client and the agency”); Heath

(Microsoft) Dep. Tr. 253:19-254:12, 255:10-256:11.

       155.    It is also costly and inefficient for an advertiser to use multiple SEM tools or an

SEM tool and native tools concurrently. Tr. 3875:6-12 (Lowcock) (Mr. Lowcock has never

recommended “that a single advertiser use multiple SEM tools at the same time” because it

would be “inefficient,” “would have additional costs,” and “wouldn’t drive performance or

efficiency”); 5162:15-5163:1 (Booth) (it is not “common for entities to use two SEM tools at the

same time” because “[t]here’s costs associated with it” including a “sizeable” “monthly license

fee”); Heath (Microsoft) Dep. Tr. 15:14-20, 19:7-20, 145:10-146:15 (“[I]t is convenient for

[advertisers] and their preference to be able to access features through their chosen [SEM] tool

provider”; using a native tool and an SEM tool “drives cost” to advertisers and is
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“inconvenient”); PSX00460 at -900 (SA360 presentation: “[W]e have had the strong feedback

from users that they would prefer a common experience that would mean users would not need

to learn 2 interfaces, allowing for a faster and more seamless onboarding to new team

members”); PSX00989 at -795, -796 (Wells Fargo document: using multiple SEM tools is

“uncommon in the industry” and switching from two SEM tools to one SEM tool “reduces tech

fees by          of media spend (         in 2019)”); Tr. 6908-09 (Amaldoss) (“The fundamental

premise of SA360 is you do not have to deal with native tools; deal with one”); Tr. 7118:16-22

(Baker) (“[T]he sophisticated advertisers … want to use SEM tools to manage campaigns across

multiple search firms, … an advantage they would give up if they were to try to run campaigns

on multiple search firms using the native tool on Microsoft, say, while using an SEM tool, like

SA360, to place other ads on Google”).

          156.   Google recognizes the costs associated with using an SEM tool along with native

tools, representing to advertisers that SA360 will “eliminate the need” to also use native tools.

PSX00460 at -905.

          F.     Google denies advertisers cross-engine support for auction-time bidding,
                 SA360’s “most critical” feature

                 1.     Three components of autobidding features: bid strategies, conversion
                        data, and auction-time bidding

          157.   A core function of SEM tools, including SA360, are automated features that use

machine learning to set and update bids in ad auctions across multiple GSEs. PSX00631 at -454

(“Powered by machine learning, bid optimization automates workflow and maximizes return on

paid search spend across engines, accounts, and devices”); PSX00460 at -907 (“Automated

bidding has long been a core feature in the backbone of the Search Ads 360 product”). As

discussed below, automated bidding features include both “auction-time bidding” and “intraday

bidding.” Both are automated (as opposed to manual), but for one the automated actions occur at

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the moment of each ad auction and for the other they occur a few times each day.

       158.    Automated bidding features automatically allocate and shift an advertiser’s

budget between campaigns on different GSEs to optimize the spend and achieve the advertiser’s

objectives. Tr. 8912:13-17 (Israel) (“[W]hen an advertiser uses SA360’s target return on ad

spending bid strategy, it lets SA360 decide how to allocate funds for bidding between and among

multiple search engines”); PSX00647 at -514 (“If a campaign performance is very good, i.e. cpa

[cost per action] is lower than target, [SA360] auto bidder will shifting spend from other

campaigns to it”); PSX00460 at -898 (“With SA360, you can … automate across all of your

search engine marketing to achieve the optimal results for your business objectives”).

       159.    Advertisers using these automated features rely on the SEM tool to allocate their

advertising budget to place bids in ad auctions on multiple GSEs. As SA360 employee Jason

Krueger explained: “The bidding features specifically do serve as an agent on behalf of the

advertiser to adjust bids against their business goals.” Tr. 6747:16-18 (J. Krueger); see also Tr.

6809:19-21 (J. Krueger) (“Our product, Search Ads 360 automated bidding, we have a

responsibility to advertisers to ensure that we can achieve their goals ideally as optimally as

possible within reason”).

       160.    There are three critical components of SEM tool autobidding features.

       161.    Bid Strategies: First, an advertiser selects a bid strategy, which is the overall

objective the advertiser wants to achieve. For example, bid strategies can aim to minimize the

cost per user click, maximize the total number of user clicks, maximize the total number of user

conversions, or target a particular return on ad spend. Tr. 6758:14-6759:8, 6761:1-5 (J.

Krueger); Tr. 4736:13-4738:1 (Varia).

       162.    Distinct bid strategies are available on the native tools and on the SEM tools,



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although they offer similar objectives. The key difference is that native tool bid strategies are

limited to a particular GSE, whereas SEM tool bid strategies aim to achieve a common objective

across multiple supported GSEs. PSX00460 at -904 (SA360 “bid strategies [] maximize the

overall performance across engines”); Tr. 4405:11-13 (R. Krueger) (SA360 bid strategies “can

be used across different search engines”); Tr. 4412:22-4413:5 (R. Krueger) (a “downside” of a

Google Ads bid strategy is an advertiser “can’t use that bidding strategy across other search

engines”); Tr. 6759:9-6760:1 (J. Krueger) (bid strategies in native tools “can’t be used across

multiple search engines”); DX0219 at -032 (“Engine integrations are a key selling point for

SA360 as they enable … automated bidding strategy that works across all engines”).

       163.    Conversion Data: Second, the advertiser selects a data source that informs the

automated systems in the setting of ad auction bids. This is often called “conversion data,”

which is data that connects information about user conduct on a GSE (such as clicking on a text

ad) with a subsequent desired action on the advertiser’s website (such as making a purchase or

signing up for a mailing list). To collect this data, the advertiser places a pixel or tag on its

website, which gathers information about user clicks, purchases, and other actions. Tr. 4315:12-

20 (R. Krueger); Tr. 4737:3-11 (Varia); Tr. 5165:11-5166:25 (Booth); Tr. 6775:7-6776:20 (J.

Krueger); Tr. 6911:8-22 (Amaldoss); DX3103 (“Conversion Tracking enables automated

features around campaign management, bidding, optimization suggestions and audience

targeting”).

       164.    Conversion data is owned by advertisers, and advertisers routinely consent to their

data being shared with SEM tools to optimize ad auction bidding. Many popular bid strategies

require a conversion data source. Tr. 5190:7-25 (Booth); Tr. 6765:14-25, 6815:20-22 (J.

Krueger).



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       165.    Different conversion trackers are available in the native tools and the different

SEM tools. As Google employee Jason Krueger explained, one of the main benefits “of using

[conversion tracking in] Search Ads 360 or a SEM tool” is the ability to “track clicks and

subsequent conversions across different search channels, like Google and Microsoft,” whereas

“Microsoft or Google’s system natively, those conversion trackers would tend only be utilized

within that [search engine] specifically.” Tr. 6777:8-20 (J. Krueger).

       166.    The conversion data collected by SA360 is called “Floodlight” conversion data.

Tr. 6764:2-13, 6774:14-6775:11 (J. Krueger); Tr. 4313:1-4314:11 (R. Krueger) (“[F]loodlight is

the way to connect the actual click to the advertiser’s website activity, and the advertiser defines

what that activity is … So that is the data that is the machine learning of bidding”).

       167.    Floodlight conversion data is highly valuable for optimizing ad spend across

multiple GSEs and is often referred to within Google as the advertising “source of truth.” Tr.

6777:8-20, 6806:14-21 (J. Krueger); PSX00655 at -413 (describing “Floodlight” data as the

“source of truth”); PSX00460 at -900 (the “Search Ads 360 value” purports to include “wider

Floodlight tracking capabilities and faster support for new features across all engines”);

PSX00725 (Microsoft memo: “SA360 shared recently that a major contributor to their value

proposition is their Floodlight tag,” which are the “true source of conversions for clients”); Tr.

5163:20-5166:25 (Booth) (describing the importance of conversion data).

       168.    Auction-time bidding: Third, the advertiser selects the frequency with which

conversion data and other input signals are automatically refreshed and ad auction bids are

updated. The two commonly used frequencies are called “intraday bidding” or “auction time

bidding.” Tr. 6910:2-16 (Amaldoss).

       169.    With intraday bidding, both the inputs for setting for ad auction bids—conversion



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data and user signals—and the output bid amounts are updated a few times per day. Tr. 6751:10-

14 (J. Krueger) (“[I]ntraday bidding may adjust bids up to a few times per day”); Tr. 6910:2-16

(Amaldoss).

       170.    With auction-time bidding, the input conversion data and user signals and the

output bid amounts are updated in real-time or near real-time at the moment of each individual

user query triggering an ad auction for each of the “billions of auctions per day.”10 Tr. 1230:7-

13 (Dischler) (auction-time bidding “automatically adjusts the bid up or down in real-time at the

time of the auction … for those billions of auctions per day … in a very short period of time”);

Tr. 6637:3-6638:7 (Vallez) (with auction-time bidding, “different signals and other conversion

inputs are updated in realtime with each ad auction”); Utter (Microsoft) Dep. Tr. 100:2-17

(auction-time bidding “takes in signals in near real-time … to adjust bids to drive a campaign’s

performance toward the goal that has been set by the client”); Heath (Microsoft) Dep. Tr. 13:20-

25, 117:8-25, 221:14-222:5; PSX00909 at 1 (“Smart bidding in Google Ads uses machine

learning to set bids at auction-time by factoring in a wide range of signals that help predict

performance”); PSX00647 at -513 (“Auction-time bidding: set bid for each query at auction-

time”); PSX00460 at -998 (Google Ads auction-time bidding “optimize[s] in real time with

Floodlight” and “[c]hanges and adjustments are made in all auctions at the query level”);

DX0338 at 1 (Microsoft Ads auction-time bidding “automatically optimizes your bids in each

and every auction based on your campaign goals”).

       171.    Examples of signals that are updated in real-time with auction-time bidding

include the user’s location, the user’s device type, and the time of the user’s query. Tr. 3870:12-



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  Auction-time bidding is also referred to in the industry as “real-time autobidding” or “smart
bidding.” Tr. 6637:3-11, 6659:5-12 (Vallez).

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24 (Lowcock); PSX00909 at 2 (“Google Ads auction-time bidding automatically sets bids based

on” signals including “device, browser, language, location, time of day, and other factors”).

Other signals are listed in the blue and green circles in the below graphic from an SA360

presentation:




PSX00655 at -406; see also Tr. 6910-11 (Amaldoss) (describing this graphic).

       172.     Auction-time bidding is vastly superior to intraday bidding in achieving an

advertiser’s bid campaign objective. Tr. 1230:14-1231:9 (Dischler) (auction-time bidding is

“beneficial to advertisers, because it’s better than the other alternatives” and “lets them act on the

most up-to-date information. … It’s one of the features that [advertisers] can use to get a better

return on investment.”); Tr. 5161:22-5162:14 (Booth) (auction-time bidding doubled Home

Depot’s return on advertising spend); Tr. 6638:2-21, 6641:6-22 (Vallez) (auction-time is

“foundational for most campaigns that we work with” and “leads to better outcomes than the

intraday bidding,” making this one of the “most impactful features” for advertisers); Tr. 6757:7-

24 (J. Krueger); Alberts (Dentsu) 5/10/22 Dep. Tr. 98:8-13 (auction-time bidding “is a very

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powerful tool that can yield favorable results for our clients”); Indacochea (Microsoft/Google)

Dep. Tr. 71:2-16; Utter (Microsoft) Dep. Tr. 283:3-17 (Microsoft ad campaigns using auction-

time bidding are “highly performing, high ROI campaigns”); Heath (Microsoft) Dep. Tr. 280:5-8

(auction-time bidding “drive[s] increased performance for advertisers by giving them more real-

time access to the auction dynamics”); PSX00655 at -400 (“Search Ads 360 Smart Bidding has

been driving performance for advertisers for years through the intelligent optimization of bids

and adjustments using Google’s machine-learning technology”); Tr. 6912:4-13 (Amaldoss).

       173.    Amit Varia, who was formerly Senior Product Manager for SA360, responsible

for managing the SA360 product, described auction-time bidding as SA360’s “most critical”

feature. PSX00436 at -270; Tr. 4684:19-4685:3, 4694:6-14 (Varia).

       174.    For these reasons, auction-time bidding is popular with advertisers and there is

high adoption on platforms where it is available. Tr. 8602:1-2 (Israel) (“[I]s auction-time

bidding attractive to advertisers? I think advertisers have said yes.”); Tr. 1231:15-17, 1239:5-16

(Dischler) (auction-time bidding has a “high adoption rate”); Tr. 3871:15-24 (Lowcock); Tr.

4694:6-14 (Varia); Tr. 5158:5-8 (Booth) (Home Depot “found that auction-time bidding is a very

productive strategy and something that I would say is probably our standard or default across

most of our campaigns”); Tr. 6639:3-8 (Vallez) (auction-time bidding is “commonly requested

by advertisers”); Tr. 6755:5-15 (J. Krueger); Miller (Google) Dep. Tr. 253:2-5 (“roughly

percent of [Google’s customers’] spend, either going through Google Ads or SA360, is using

Google’s [auction-time bidding]”); Indacochea (Microsoft/Google) Dep. Tr. 133:13-20

(“Advertisers are really focused on performance. So auction-time bidding will be one of them

that provide the performance. So you could consider that is one of the important ones.”).

       175.    Auction-time bidding has been available on the Google Ads and Microsoft Ads



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native tools since 2016. PSX01192; PSX00782; Tr. 4308:1-5 (R. Krueger).

       176.    However, despite auction-time bidding’s significant benefits and popularity, it is

not consistently supported on SEM tools. As explained below, Skai supported auction-time

bidding for both Google Ads and Microsoft Ads since at least 2020. Adobe and Marin partially

supported auction-time bidding for both since at least 2022. Infra ¶¶ 179-84.

       177.    As described below, since 2019, SA360 has supported auction-time bidding for

Google Ads and not for Microsoft Ads. It has done so despite clear evidence of auction-time

bidding’s benefits for SA360’s customers and strong demand for cross-engine support for

auction-time bidding. Infra ¶¶ 195-206.

       178.    Indeed, as described below, for over four years, Google has chosen not to support

auction-time bidding for Microsoft Ads on SA360 for the express purpose of steering ad spend to

Google and away from Bing, thereby protecting Google’s advertising market monopolies and

harming its chief rival. Infra ¶ 240.

               2.      Independent SEM tools develop cross-engine support for auction-time
                       bidding

       179.    Skai considers auction-time bidding an “impactful feature” that was commonly

requested by Skai’s customers because it led to better outcomes than intraday bidding. For these

reasons, Skai prioritized development of auction-time bidding support for Google Ads and

Microsoft Ads. Tr. 6638:19-6639:14, 6641:2-22, 6661:16-6662:2 (Vallez) (“over 90 percent of

[Skai’s] advertisers use Google and Bing, and … it’s close to 80 percent of all of our clients

using Smart Bidding, so they already know what to expect. They expect, I’m using Smart

Bidding on Google, and so they want parity. And, so, a lot of the demand could have come from

them saying, hey, we have it for Google Smart Bidding, we need it for Bing as well.”).

       180.    Skai integrated support for Google Ads auction-time bidding in 2019, a process


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that took “a couple years.” Tr. 6639:15-6640:7 (Vallez).

       181.    It then took Skai another year to integrate Microsoft Ads auction-time bidding,

which it released by early 2020. Tr. 6643:7-12 (Vallez). Mr. Vallez of Skai explained that

having “already integrated the Google [auction-time bidding], that simplified the process of

integrating the Microsoft [auction-time bidding].” Tr. 6640:11-6641:5 (Vallez); PSX00954; see

also DX3225 (October 2020 Microsoft blog post: “Microsoft Advertising automated bidding is

available to Kenshoo customers”).

       182.    Skai’s integration of auction-time bidding support for Microsoft Ads resulted in a

     increase in sales conversions. Microsoft expected it “would get the same [conversion

increase] with SA360” support for auction-time bidding. Indacochea (Microsoft/Google) Dep.

Tr. 71:2-16.

       183.    Home Depot’s use of Skai’s auction-time bidding for Microsoft Ads

“dramatically improved performance” and doubled return on ad spend. Tr. 5161:22-5162:14

(Booth).

       184.    Likewise, the Adobe and Marin SEM tools developed support for Microsoft Ads

auction-time bidding for use with certain bid strategies by early 2022. Heath (Microsoft) Dep.

Tr. 47:3-15, 83:7-84:16. Adobe and Marin also support Google Ads auction-time bidding. See

DXD29 (Israel slides) at 148; Lien (Marin) Dep. Tr. 51:6-14.

               3.     SA360 releases auction-time bidding support for Google Ads in 2019

       185.    Google used the codename Project Myx for its project to integrate Google Ads

auction-time bidding into SA360. Tr. 4691:12-15 (Varia).

       186.    Google completed integration of Google Ads auction-time bidding into SA360 in

September 2019 after a period of “open beta” testing in which “any customer who was interested

in testing could request to join.” PSX00909 at 1; Tr. 4692:2-23 (Varia). During open beta
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testing, “hundreds of advertisers had shared feedback that they had utilized Google Ads auction-

time bidding.” The “overwhelming feedback that [Google] heard was that the Google Ads

[auction-time bidding] outperformed [] intraday bidding, and many of these advertisers had …

stopped using intraday bidding in favor of Google Ads auction-time bidding.” Tr. 6808:18-

6809:6 (J. Krueger).

       187.    The integration of Google Ads auction-time bidding into SA360 includes the

three key components described above: (1) an advertiser can select an SA360 bid strategy, (2)

the advertiser’s Floodlight data is sent from SA360 to Google Ads, and (3) Google Ads uses

auction-time bidding to optimize bids for Google general search ads in real-time based on the bid

strategy objective. Tr. 6758:14-19, 6763:2-6764:13, 6771:15-21, 6778:23-6779:7 (J. Krueger);

PSX00655 at -403, -410, -411.

       188.    These components are depicted in the below diagram from a Google presentation.

PSX00655 at -410; see also Tr. 6768:14-23 (J. Krueger). The blue circle in the bottom left

represents SA360, in which the user selects an SA360 bid strategy (i.e., the “Targets” for the

advertiser’s “Portfolio”). See Tr. 6758:14-19 (J. Krueger). The circle with green and gray

arrows indicates that SA360 bid strategies—such as targets for CPA (cost per action) or ROAS

(return on ad spend)—are integrated with the Google Ads native tool depicted by the green

circle. The real-time “Auction Bids” are then set within Google Ads. To optimize those bids,

the advertiser provides access to “Customized Conversion Data” (i.e., Floodlight conversion

data) listed under the red word “Data,” along with the user signals listed along the right side of

the slide. These data and signals are then passed to Google Ads in real-time.




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       189.    Advertiser consent to share Floodlight conversion data with Google Ads is

required for use of Google Ads auction-time bidding in SA360. Tr. 4316:4-14, 4345:14-4346:6,

4449:17-23 (R. Krueger); PSX00571 at -172 (“Search Ads 360 will require sharing of all

Floodlight and other conversions to Google Ads for advertisers that are using Search Ads 360

Auction-time bidding”).

       190.    Critically, while SA360 allows advertisers to use auction-time bidding to set bids

and place ads on Google’s search engine, it only allows advertisers to use the inferior intraday

bidding to set bids and place ads on all non-Google GSEs. PSX00631 at -454 (“SA360 Auction

Time bidding uses Google Ads’ bidding engine, powered by deduplicated Floodlight conversion

data (and intra-day bidding can bid up to 4x a day for non-Google engines)”); Tr. 4408:13-25 (R.

Krueger); DXD29 (Israel slides) at 148; Tr. 6913:4-7 (Amaldoss).

       191.    When Google released SA360 support for Google Ads auction-time bidding in

September 2019, its beta testing had already shown that use of “SA360 auction-time bidding” by

a “typical advertiser” resulted in a 15-30% uplift in conversions on Google Ads campaigns:

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PSX00655 at -415.

       192.    Google touted the benefits of auction-time bidding in a September 2019 public

blog posted written by Jason Krueger titled “Google Ads auction-time bidding comes to Search

Ads 360.” PSX00909 at 1. Mr. Krueger wrote that advertisers could use auction-time bidding to

“enhance performance when bidding on Google Search, while still maintaining your cross-

channel bidding strategy powered by Search Ads 360.” Id. He continued: “During beta testing

hundreds of Search Ads 360 advertisers enabled Google Ads auction-time bidding and saw an

average lift in conversions of fifteen to thirty percent at the same or better ROI.” Id.

       193.    Mr. Krueger then quoted two customers describing their experience using

auction-time bidding. One customer “lower[ed] our cost-per-conversion by 15%” and the other

“saw conversion volume increase nineteen percent at the same cost per acquisition.” Id. at 2.

Mr. Krueger also explained that SA360’s “unique approach” to auction-time bidding entailed

“analyzing [an advertiser’s] account history, Floodlight conversions, and exclusive signal

combinations.” Id. at 2.

       194.    Google’s testing also found a “        spend” increase on SA360 by advertisers

using Google Ads auction-time bidding. PSX00419 at -238. As a result, Google expected that


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Google Ads auction-time bidding on SA360 would “drive           billion (USD) for Google within

2 years of launch.” Id. Google would later set a goal of “100% auction-time Autobidding

adoption” on SA360 by its Google Ads customers. PSX01253 at -724.

               4.     Google knows that Microsoft Ads auction-time bidding on SA360
                      would be popular and effective for advertisers

       195.    Throughout 2019 and 2020, Google received mounting evidence of demand for

Microsoft Ads auction-time bidding and of auction-time bidding’s significant user benefits and

popularity.

       196.    As described above, by September 2019, Google knew that auction-time bidding

caused a 15-30% uplift in conversions and revenue, and hundreds of SA360 customers had

requested the feature for use in SA360. Supra ¶ 186 (citing PSX00909). By this time, Google

also knew—and has never disputed—that auction-time bidding provides superior results for

advertisers than intraday bidding. Id.

       197.    Also in November 2019, the SA360 sales team listed “Auction time bidding for

MSFT” as a “Top 5” requested Microsoft feature. DX0179 at -425.

       198.    By December 2019, Google knew that auction-time bidding on SA360 was highly

popular, with an      adoption rate. PSX00285 at -610.

       199.    In May 2020, an SA360 sales presentation summarizing results from a customer

survey listed “Auction-time bidding … [f]or MSFT advertising” as a top requested feature along

with customer demand for “More Bing parity.” PSX00457 at -740, -748.

       200.    An SA360 presentation discussing sales priorities for the second half of 2020 lists

“Auction Time Bidding for … Bing” as the top requested Microsoft Ads feature and reports that

“[c]ustomers are asking for expanded feature support for Google and parity in Bing” and “[m]ore

parity with Microsoft Ads.” DX0195 at -972, -977; Tr. 4427:1-5 (R. Krueger) (testifying that he


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they already had ample evidence since at least 2019 that auction-time bidding significantly

increases performance and conversions. In the same email thread, Ryan Krueger wrote: “As

much as it’s difficult to say, I’m not terribly surprised microsoft ATB [auction-time bidding] is

performing better than intraday (for same reason google ATB does).” PSX00441 at -904.

       205.    In February 2021, an internal Google feature tracking spreadsheet listed “Auction

time bidding for MSFT” as the highest priority, defined as one that had been requested

“consistently from sales/customers.” PSX00444. That same month, an internal SA360 planning

document listed “[b]uilding parity with Microsoft Ads Auction-time Bidding capabilities” as a

“top priority features request[].” PSX00445 at -184. The document explained that this was a top

priority because “          and        have shifted their Microsoft spend to engine ATB.” Id.

       206.    In addition, major SA360 customers and Microsoft repeatedly stressed to Google

the importance of broad Microsoft Ads feature parity. Tr. 5158:14-5159:12 (Booth) (Home

Depot requested SA360 support for Microsoft Ads features in meetings with Google); Alberts

(Dentsu) 5/11/22 Dep. Tr. 313:18-314:8 (Dentsu “provide[d] feedback directly to representatives

from SA360” about “SA360 adding support for Bing auction-time bidding”); Heath (Microsoft)

Dep. Tr. 76:3-77:20 (“I was getting inundated [with] clients asking for Search Ads 360 to do a

better job of supporting Microsoft Advertising”).

               5.     Google’s SA360 product team initially is receptive to testing Microsoft
                      Ads auction-time bidding

       207.    Since at least the time of SA360’s announcement of Google Ads auction-time

bidding in September 2019, Microsoft has been asking SA360 to collaborate on a comparable

auction-time bidding integration with Microsoft Ads, i.e., an integration in which (1) a user can

select an SA360 bid strategy; (2) the user’s SA360 Floodlight conversion data is shared with the

Microsoft Ads native tool; and (3) Microsoft Ads auction-time bidding is used to set bids for


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Bing general search ads in real-time. See PSX00732.

       208.    At an early September 2019 meeting between SA360 and Microsoft employees,

the SA360 product team explained that “Google Ads Auction Time Bidding” functioned with

(1) “targets for the portfolio” (i.e., bid strategies) set in SA360, (2) SA360 “enabl[ing]

conversion sharing” with Google Ads, and (3) “Google Ads control[ing] Bidding” (i.e., the

Google Ads native tool controlled the real-time autobidding). PSX00732 at -379. The SA360

employees told Microsoft that their process to support Google Ads auction-time bid took “1.5

years of development analysis/testing … “includ[ing] ~1 year of drafts and experiments.” Id.

And the SA360 team reported that they had observed “15%-30% median increase in

conversions” in their testing of auction-time bidding (the same figure that Google publicly

reported a couple weeks later). Id.; see also PSX00725 (October 2019 Microsoft memo: “SA360

has confirmed that the auction-time bidding significantly and consistently outperforms SA360

bid strategies [without auction-time bidding]”).

       209.    Also at this September 2019 meeting, Google and Microsoft discussed how they

could develop a comparable SA360 integration of auction-time bidding for Microsoft Ads.

PSX00732 at -379 (“What would it take to do this for Microsoft”). They agreed that the SA360

product team would “evaluate engineering cost to run Auction Time Bidding test” and Microsoft

would “identify demand/customer who will be endorsing” the testing. Id. at -380.

       210.    In October 2019, Microsoft sent the SA360 product team a proposed protocol to

test allowing advertisers “to share their conversions tracked by Search Ads 360/Floodlight tag

with Microsoft Advertising.” PSX00646 at -539; see also PSX00645 (cover email sending this

document). The proposal explained that sharing Floodlight conversion data with Microsoft Ads

was a “prerequisite for future integrations such as auction-time bidding, which is especially



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important for Microsoft Ads, where advertisers can leverage best of both (SA360 and Microsoft)

worlds, and brings parity with Google Ads so that advertisers can evaluate performance under

similar conditions.” PSX00646 at -539. The “Test Objectives” were (1) “Verify advertiser

willingness and ability to share Floodlight conversion data with Microsoft and run bidding

experiments (A/B) tests based on this conversion source” and (2) “Evaluate [Microsoft Ads]

Bidding agents performance with Floodlight conversion source as a precursor to implementing

auction-time bidding.” Id. at -540. The proposal contemplated an initial “alpha/proof of

concept” phase that would require “little, if any, engineering work,” followed by an “engineering

build out” phase. Id.

       211.    After reviewing Microsoft’s proposal, Ryan Krueger of Google wrote that “the

Search Ads 360 team is generally aligned with the approach outlined to validate MSFT auction

time bidding performance versus Search Ads 360 intraday bidding” and was “looking forward to

getting this test off the ground!” PSX00765 at -216. At trial, Mr. Krueger confirmed that he

agreed with Microsoft’s two test objectives; that “the main goal was to get the [Floodlight

conversion] data into Microsoft to understand where the limitations may be or not be … we just

overall wanted to see how Microsoft bidding behaved with this data”; and that the SA360 “team

understood the proposal and … didn’t have any issues with the approach.” Tr. 4322:23-4325:1

(R. Krueger). Likewise, Google employee Jason Krueger testified that the proposed testing was

the “best way to identify the bugs and issues” and “assess performance.” Tr. 6855:9-21 (J.

Krueger).

       212.    In November 2019, Microsoft responded that it was “in the process of recruiting

customers and we are looking forward to get this going soon as well!” PSX00765 at -215.

       213.    Also in November 2019, following a meeting to discuss SA360’s product



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roadmap for the first half of 2020, Microsoft employee Jim La Force emailed Google a list with

54 features that were available in both Google Ads and Microsoft Ads. PSX00300 at -275 to -

277. The list indicated that SA360 supported all 54 features for Google Ads, but only 27 for

Microsoft Ads. Id. Microsoft highlighted ten “prioritized” features that SA360 only supported

for Google Ads: “Auction-Time Bidding” and “Conversion Sharing”; bid strategies “Enhanced

CPC,” “Max Clicks,” “Max Conversions,” “Target CPA,” and “Target ROAS”; and the

automated ad formats “dynamic search ads,” “responsive search ads,” and “local inventory ads”

(discussed in detail infra ¶¶ 250-53). Id.

       214.    Thus, in November 2019, Microsoft identified as priority items for future

development the three key components of SA360’s integration of auction-time bidding (bid

strategies, conversion sharing, and auction-time bidding itself) along with three automated ad

formats (dynamic search ads, responsive search ads, and local inventory ads). PSX00300 at -275

to -277.

       215.    Microsoft also included in this November 2019 email several “action items,”

including that Microsoft and SA360 would continue working together to “kick off test pilot for

Floodlight conversion + MSFT auction-time bid test.” PSX00300 at -275.

       216.    From October to December 2019, the SA360 team finalized its product

development roadmap for the first half of 2020. The roadmap underwent two cost cutting

sessions, approval by sales leadership, and executive review. PSX01206; PSX01110 at -157;

Tr. 6783:2-6, 6786:12-6789:1 (J. Krueger). After these several layers of review and approval,

Google employees circulated the “completed” roadmap internally in December 2019. That final

roadmap for the first half of 2020 included the testing for Project Byx, which was Google’s

codename for SA360 support for Microsoft Ads auction-time bidding (i.e. “Myx for Bing”).



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PSX00285 at -609, -610; Tr. 6789:7-6790:16 (J. Krueger); see also Tr. 1426:3-14 (Dischler).

The same document also stated that SA360 already had “        auction time adoption” for

Google Ads auction-time bidding. PSX00285 at -610.

              6.      Senior Google employees delay and then refuse to develop SA360
                      auction-time bidding support for Microsoft Ads

       217.   At the same time that the SA360 product team was seeking and obtaining

approval to begin testing for Project Byx, senior Google management was working to delay and

suspend any efforts to develop SA360 support for Microsoft Ads features, including auction-time

bidding.

       218.   In December 2019, Don Harrison (Google President for Global Partnerships and

Corporate Development) tasked Joan Braddi (Google Vice President of Partnerships) with

responding to Microsoft’s request for development of Microsoft Ads features on SA360.

Tr. 5022:13-5023:3 (Braddi).

       219.   Ms. Braddi became Google’s exclusive negotiator on this issue in 2020 even

though she admitted at trial that she “didn’t know what SA360 was” or the “purpose of the

SA360 tool,” was “not familiar [with] how auction-time bidding actually works,” and she did not

review SA360 product development roadmaps. Tr. 5024:2-6, 5029:2-5031:23, 5033:16-5034:18,

5036:9-24, 5041:14-5042:7; Utter (Microsoft) Dep. Tr. 274:2-16 (Microsoft’s negotiations were

“exclusively with Ms. Braddi,” who was not “caught up to speed on search technology”); see

also PSX00756.

       220.   In December 2019, Mr. Harrison met with Peggy Johnson, Microsoft’s Executive

Vice President for Business Development, to discuss Microsoft’s “request regarding SA360

support for Bing Ads,” among other things. PSX01111 at -456.

       221.   Prior to the meeting, Ms. Braddi discussed Google’s strategy with Mr. Harrison


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and helped prepare a briefing memo. PSX01111; PSX00481; Tr. 5026:1-8 (Braddi).

       222.   Despite Ms. Braddi’s admitted lack of knowledge about SA360 or auction-time

bidding, Ms. Braddi decided that Google should “push back” on Microsoft’s request for feature

development and convey the supposed “unreasonableness of their request.” PSX00481 at -

211, -212. Ms. Braddi explained in another internal email that she viewed SA360’s primary

purpose as driving increased ad spend on Google’s search engine: “Google builds our tools to

assist advertisers with their advertising campaigns, measurement, optimization primarily on

Google’s platform; and in some cases these tools can work cross platform but may not be

optimized across all platforms.” PSX00482 (emphasis added).

       223.   Consistent with Ms. Braddi’s objective, the briefing memo for Mr. Harrison states

that Google “plan[ned] to decline [] the SA360 … requests for parity / feature development”

because it was “not aligned with [Google’s] product or business goals.” 12 PSX01111 at -457,

458. In other words, Google believed it only needed to operate SA360 to support customers that

advertised on Google’s search engine, not those advertising on Microsoft’s rival search engine or

the other rival GSEs supported by Microsoft Ads.

       224.   The memo also identifies Google’s expectation that Microsoft would “raise some

concerns when we announce Amalgam next year.” Amalgam was Google’s code name for its

new version of SA360, which ultimately was not released until 2022. The memo continues:

“Amalgam will ensure that Google Ads features appear in SA360 immediately, which may

further increase the feature disparity between Google Ads and Bing Ads. This may trigger

allegations that we are using SA360 to increase / maintain spend on Google Search vs 3P


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   The memo also states that Google planned to decline Microsoft’s request for feature
development on Google’s GA360 tool. PSX01111 at -458. That separate Google product is not
at issue in this case.

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engines.” Id. at -458 (emphasis added).

       225.    The memo included a copy of the November 2019 email exchange between

Microsoft and the SA360 product team identifying priority features and the action item to “kick

off test pilot for Floodlight conversion + MS auction-time bid test.” Id. at -460 to -464. Ms.

Braddi claimed that she did not review that part of the memo. Tr. 5029 (Braddi).

       226.    By this time (the end of 2019), Google already knew that auction-time bidding

caused a 15-30% uplift in conversions and revenue, hundreds of SA360 customers had requested

the feature for use in SA360, SA360’s sales team had listed “Auction time bidding for MSFT” as

a “Top 5” requested Microsoft feature, and Google Ads auction-time bidding had an

adoption rate on SA360. Supra ¶¶ 186, 197, 198.

       227.    In early January 2020, Mr. La Force of Microsoft sent an internal email

describing Microsoft’s understanding at that time that SA360 had “agreed to partner with

Microsoft Advertising to pilot and test the passing of Floodlight conversion data … to Microsoft,

as a signal, to help inform [Microsoft Ads] auction time bidding.” PSX00804 at -365. Mr. La

Force stressed that the development of Microsoft Ads auction time bidding on SA360 was vital

for Microsoft’s ad business, writing that “[t]his test with SA60 is a priority at the highest level

within our organization.” Id. He also attached a list of clients who qualified for the pilot test and

said he wanted to “kick off recruitment ASAP.” Id.

       228.    The next day, Mr. La Force wrote to Ryan Krueger that Microsoft was “ready to

start in the recruitment of customers for the floodlight/auction-time bid testing between Search

Ads 360 and Microsoft Ads” and had prepared “a list of approximately ~50 customers that

would qualify.” PSX00462 at -323. Despite Mr. Krueger’s prior eagerness to begin the testing,

he responded less than two hours later and asked that “no advertisers outreach is performed by



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MSFT until the roadmap is communicated and discussed.” Id. at -324.

       229.    Two months later, in March 2020, Mr. Tinter of Microsoft asked Mr. Harrison

about the status of Microsoft Ads feature development because Microsoft’s “team has not heard

anything back” and “[t]emperatures inside Microsoft on this topic are rising rapidly.” PSX00378

at -460. This prompted an internal discussion between Mr. Harrison and Ms. Braddi in which

Ms. Braddi wrote that Google would “not agree[] to any ‘customer’ work for [Microsoft] on

SA360” and Mr. Harrison responded that Google should “pick up some small number of MSFT

asks (vs. none).” Id. at -459.

       230.    A few days later, Ryan Krueger wrote to Microsoft that Google had “elected to

defer running an MSFT Auction-time Autobidding test but remain open to revisiting this feature

based on customer demand in future planning cycles.” PSX00433. Mr. Krueger’s claim that

testing could not proceed due to lack of demand was ironic because the testing was intended in

part to gauge customer demand. Supra ¶¶ 209-11; Tr. 6855:3-21 (J. Krueger). And, in any

event, by this time in March 2020 Google had received numerous pieces of evidence showing

customer demand for Microsoft Ads auction-time bidding. Supra ¶¶ 196-98.

       231.    Instead, Mr. Krueger wrote that Google would agree to develop three other

Microsoft Ads features: parallel tracking, prominence metrics, and expanded support for

dynamic search ads. PSX00433. These three features were of limited value because, at that

time, SA360 already supported Microsoft Ads parallel tracking, it already partially supported

Microsoft Ads dynamic search ads, and prominence metrics was not on Mr. La Force’s

November 2019 list of 54 relevant features. Tr. 4342:22-4345:2 (R. Krueger).

       232.    Mr. Tinter wrote to other Microsoft employees that Google’s proposal “was very

narrow and doesn’t address any of the issues/feedback,” and the “[l]ack of progress here is



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having an accelerating negative impact on Bing business.” PSX00715. He wrote that he was

raising the issue with Satya Nadella (Microsoft’s CEO) and Brad Smith (Microsoft’s General

Counsel). Id.; see also Tr. 3494:10-23 (Mr. Nadella describing Microsoft’s “structural issues”

with SA360 “in terms of making it such that an advertiser can have the same campaign across

multiple search engines”).

       233.    That same day in March 2020, Ms. Johnson of Microsoft wrote to Mr. Harrison

“to follow up on our discussion in December about SA360’s failure to provide timely and

adequate support for Microsoft search advertising features.” PSX00360. Ms. Johnson invoked

the dispute resolution provision of a prior settlement agreement between Google and Microsoft,

which triggered contractually agreed upon negotiations between senior management of the two

companies. Id.; see also PSX00761 at § 6.2. Ms. Johnson also directly responded to Google’s

assertion that there was insufficient demand for Microsoft Ads features:

       “While we understand your point of view that there is less demand for Bing than
       for Google Search and thus less need to support Bing Microsoft search advertising
       features to the level Google does for its own services, Google’s dominant position
       in search and search advertising tools places a unique obligation on Google not to
       disadvantage its competitors. The fact that Google’s dominant search advertising
       position means that there will inherently be less advertiser demand for Bing
       features does not excuse using SA360 to provide preferential treatment to Google
       Search.”

PSX00360 (emphasis added).

       234.    Microsoft and Google then engaged in several months of negotiations pursuant to

their settlement agreement. During these negotiations, Mr. Tinter told Mr. Harrison that

Microsoft would pay Google for the feature development and testing work. Tr. 3187:15-3188:19

(Tinter). Google did not take Mr. Tinter up on his offer, and the negotiations ultimately reached

an impasse in October 2020 due to false claims and unreasonable demands from Ms. Braddi.

       235.    First, in May 2020, Ms. Braddi sent a proposal to Microsoft’s representative,


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Chris Weinstein, in which Google would only agree to use “commercially reasonable efforts” to

develop some of Microsoft’s priority features by August 2022—over two years later—on the

condition that Microsoft would “not seek support for additional Microsoft Advertising features

from Google prior to [August 2022].” PSX00466; PSX00467 at -918; Tr. 5043:3-5044:6

(Braddi). This was an unreasonably long time frame intended to avoid developing support for

critical Microsoft Ads features on SA360, consistent with the internal Google memo stating that

Microsoft’s requests for feature development were “not aligned with [Google’s] product or

business goals.” PSX01111 at -457, -458. 13

       236.    Second, Ms. Braddi told Mr. Weinstein in July 2020 that Google “isn’t willing to

provide the Floodlight conversion data” with the integration of Microsoft Ads auction-time

bidding. PSX00743. As described above, Floodlight conversion data is essential to optimize

any kind of autobidding, including auction-time bidding. Supra ¶¶ 166-67. Ms. Braddi’s

explanation for this refusal was to claim that “Floodlight data is out of scope for the standalone

Microsoft bidder we’ve discussed SA360 supporting” and Floodlight “data is not shared to any

standalone bidder [i.e., to any native tool].” PSX00743 at -150; Tr. 5049:8-22 (Braddi). At trial,

Ms. Braddi claimed there was a “disconnect” once Microsoft referenced Floodlight data in the

proposal. Tr. 5048:1-24 (Braddi).

       237.    Ms. Braddi’s objections to sharing Floodlight data were false and another

pretextual excuse to avoid providing full SA360 support for Microsoft Ads auction-time bidding,

which is particularly notable since by this time Google customer surveys listed “Auction-time



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   Ms. Braddi later lowered the demand to 18 months after execution of the agreement, but in the
same proposal she stated that “it is not suitable for Google to unilaterally commit to building” the
integration of auction-time bidding with SA360 bid strategies, a central component of SA360’s
integration of Google Ads auction-time bidding. PSX00521; PSX00522 at -249.

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bidding … [f]or MSFT advertising” as a top requested feature. Supra ¶ 199. Google already

shared Floodlight data with its own Google Ads native tool (supra ¶¶ 187-89) and Google and

Microsoft had extensively discussed a comparable sharing of Floodlight data with Microsoft

Ads—including in a December 2019 memo that Ms. Braddi helped prepare (supra ¶¶ 220-25).

Mr. Weinstein informed Ms. Braddi that she was wrong because SA360’s auction-time bidding

for Google Ads required sharing Floodlight data with the Google native tool and this conversion

sharing had been “part of the detailed conversations with the product team as a technical level, so

this should not be surprising.” PSX00516 at -137; id. (“Autobidding has always been part of the

discussion. Google’s approach with Auction-Time Bidding is a SA360 capability that delegates

Auto-Bidding to a separate platform (e.g. Google Ads, and what we are asking for Bing), and

SA360 provides conversions and goals to it.”). But Ms. Braddi was unmoved, and later struck

proposed language stating that SA360 would “enable advertisers to share Floodlight conversions

for every campaign with Microsoft Advertising.” PSX00518 at -153; Tr. 5053:20-5054:11

(Braddi).

       238.    Third, Ms. Braddi claimed during the negotiations that she was “confused” and

surprised by Ms. Weinstein’s request for the integration of Microsoft Ads auction-time bidding

to include support for SA360 bid strategies, as opposed to only native tool bid strategies. See

PSX00516 at -137. This objection is again belied by the record. Amit Varia, the SA360 product

lead, testified that he had always understood Microsoft’s request to include support for SA360

bid strategies. Tr. 4738:3-4739:4. Microsoft’s request was logical because, as described above,

SA360 bid strategies are a critical component of SA360’s integration of Google Ads auction-

time bidding, and from the beginning the parties discussed developing a comparable integration

for Microsoft Ads. Supra ¶¶ 187-88, 201-02, 207-08; see also PSX00743 at -148 (Microsoft



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email: “[W]e have always said that we want Auto-Bidding parity to Google Ads. And they

[Google] have a hybrid approach of SA360 and [Google Ads] Auto-Bidding.”). It was vital to

include SA360 bid strategies rather than just Microsoft Ads bid strategies because only SA360

bid strategies automatically manage and shift ad spend across multiple GSEs. Supra ¶ 162. In

addition, Google itself determined that use of auction-time bidding with SA360 bid strategies

caused a “      increase in all conversions.” PSX00438 at -562.

         239.   Due to Google’s unreasonable demands and refusal to support fundamental

components of the auction-time bidding integration, Microsoft informed Google in October 2020

that it was ending the negotiations. 14 PSX00379 at -514 (ending negotiations due to “the lack of

integration and support for several key Microsoft Advertising features by Google’s Search Ads

360”).

         240.   Thereafter, Ms. Braddi stopped working on SA360 entirely, and Google made no

meaningful effort to reengage with Microsoft. Tr. 5059:1-20 (Braddi). To this day, SA360 does

not support Microsoft Ads auction-time bidding, over four years after it released the same feature

for Google Ads. Tr. 4407:9-4409:1, 4414:15-24 (R. Krueger).

         241.   Google has refused to develop SA360 support for Microsoft Ads auction-time

bidding even though since the end of 2020 (over three years ago), Google’s own documents list

“Auction Time Bidding for … Bing” as the top requested Microsoft Ads feature, describe

customer reports of “consistently strong performance improvement by enabling auction-time”

including “      increase in all conversions,” and concede that Google was “not terribly surprised

microsoft [auction-time bidding] is performing better than intraday (for same reason google


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  Microsoft sent this email to Google on October 30, 2020, ten days after the U.S. Department
of Justice filed its complaint in this case. Dkt. 1. Plaintiff States filed their complaint December
17, 2020. See Case No. 20-cv-03715, Dkt. 1.

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[auction-time bidding] does).” Supra ¶¶ 195-206.

       242.    Google has claimed that Microsoft Ads auction-time bidding is in testing, but

there is no evidence of the status of the testing from anyone with direct knowledge. See Tr.

4443:8-13, 4687:13-18 (R. Krueger) (testifying that he is not involved in the testing of Microsoft

Ads auction-time bidding and it has “been a while since I’ve been on SA360”); Tr. 5059:16-20

(Braddi) (testifying that she has not had “any further involvement on SA360” since late 2020);

Tr. 6755:10-12 (J. Krueger) (testifying that he stopped working on SA360 in April 2022). The

limited secondhand testimony at trial about the status of any testing was conflicting, with Ryan

Krueger testifying that testing was in a “limited alpha” phase (Tr. 4407:9-16) and Jerry Dischler

testifying it was in the “beta” phase (Tr. 1246:8-10). Although Google wrote in March 2020 that

it was merely “defer[ing]” the Microsoft Ads auction-time bidding test, there is no evidence that

Google ever sought to re-engage with Microsoft to begin the testing. See Heath (Microsoft) Dep.

Tr. 195:18-22 (“[T]he pilot [test] did not happen because Search Ads 360 withdrew their consent

to proceed with the pilot”).

       243.    The evidence thus shows that Google decided not to support Microsoft Ads

auction-time bidding on SA360, while maintaining a veneer of progress with vague claims that

the development is ongoing. Indeed, this approach is stated explicitly in a 2021 internal Google

document that recommends “slow-roll Byx by doing some minimal work to keep it ticking

over.” PSX00613 at -956.

       G.      Google also delayed cross-engine support for other key features

       244.    Google’s decision to support auction-time bidding on SA360 only for Google Ads

is part of a larger trend. Over the years, Google has repeatedly integrated support for Google

Ads features on SA360 long before integrating the same feature for Microsoft Ads, if at all.

       245.    In February 2019, a Microsoft presentation stated that “SA360 adoption of Bing
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Ads features has slowed and is a growing concern” and “SA360 feature adoption lags other

[SEM tools].” PSX01117 at -996, -005, -015.

        246.   In June 2019, Shirley Heath of Microsoft wrote to Google to “express[] concerns

over the delayed support for [Microsoft Ads] features in general” and explained that “feature

adoption gaps are evident as compared to competitors when SA360 does not support Microsoft

Advertising features.” PSX00656 at -090. Google employees discussing Ms. Heath’s email

internally acknowledged “our delays” in supporting Microsoft Ads features, “the fact that other

platforms have had support for years,” and the overall “slow growth and low feature adoption.”

Id. at -089.

        247.   At a meeting in July 2019 with Google, Ms. Heath reiterated that the “[l]ast 2+

years have been light in terms of support for MSFT Adv features [on SA360].” PSX00768 at -

212. She noted that a pilot to test Microsoft Ads dynamic search ads “was stopped two days

prior to going live in fall 2018” and Google “[l]ater shared that the delay was due to an intern

who was leading the support for [dynamic search ads].” Id.

        248.   As described above, in November 2019, Microsoft identified 27 features that

SA360 supported for Google Ads and not for Microsoft Ads. Supra ¶ 213. Microsoft employees

recognized that the list showed “big gaps” in the level of support for Google Ads versus

Microsoft Ads. PSX00721 at -961. At trial, Ryan Krueger agreed that the disparities identified

in the list were “directionally accurate.” Tr. 4327:1-18.

        249.   In July 2020, an internal SA360 presentation recognized that customers “felt that

[SA360] is a tool for those who heavily use Google” and “felt third-party platforms [i.e., Skai,

Marin, and Adobe] were better designed for multiple engines.” PSX00586 at -223, 230.

        250.   Google also delayed SA360 support for responsive search ads, dynamic search



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ads, and local inventory ads, the three Microsoft Ads automated ad types identified as priority

features that SA360 already supported for Google Ads in November 2019. Each is a popular ad

type, available in both Microsoft Ads and Google Ads, that increase efficiency of ad spend.

PSX00300 at -275 to -276; Utter (Microsoft) Dep. Tr. 265:5-271:25.

       251.    Responsive search ads are “a time saving feature. You load in 15 headlines, four

different creatives, there are 40,000 permutations that Google will … algorithmically AB test in

real-time to goal seek for whatever objective that you have to find.” Utter (Microsoft) Dep. Tr.

255:22-256:4; DX0346 at 1 (“Responsive search ads let you create an ad that adapts to show

more relevant messages to your customers. Enter multiple headlines and descriptions when

creating a responsive search ad, and over time, Google Ads tests different combinations and

learns which combinations perform best.”).

       252.    Dynamic search ads “crawl [the advertiser’s] website and will dynamically

create proposed ad titles, as well as proposed keyword lists, to facilitate the process of creating

text ads in search.” It is a “high performance product” and a “commonly used feature in Bing

Ads.” Utter (Microsoft) Dep Tr. 262:19-265:21.

       253.    Local inventory ads allow an advertiser to “upload inventory availability

information into the [] system, and then that inventory availability is expressed on the actual

shopping campaign ad that is sent in response to a query.” They are “helpful to both advertisers

and consumers,” leading to “greater conversions.” Utter (Microsoft) Dep. Tr. 266:23-268:8; see

also DX0346, DX0350.

       254.    In December 2020, when Plaintiff States filed their complaint, SA360 did not

provide any support for Microsoft Ads responsive search ads, it did not allow advertisers to

create Microsoft Ads dynamic search ads, and it did not allow advertisers to turn on Microsoft



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Ads local inventory ads. Utter (Microsoft) Dep. Tr. 265:5-269:2 (as of March 2022, SA360 did

not fully support Microsoft Ads dynamic search ads, responsive search ads, or local inventory

ads); DX0294 (as of May 2022, SA360 supported “reporting only” for responsive search ads and

dynamic search ads); Tr. 6916:3-11 (Amaldoss); PSXD-10 (Amaldoss slides) at 57.

       255.    Google integrated the Microsoft Ads versions of these three features in the new

SA360 in 2022. But that new SA360 is still not available for all SA360 customers. DX0294;

DX0329.

       H.      Google’s SA360 conduct has anticompetitive effects in search advertising
               markets

       256.    As described below, the consequence of Google’s SA360 conduct is harm to

advertisers, harm to Google’s actual and potential advertising rivals, and harm to competition in

advertising markets. These harms are ongoing and likely to continue into the future.

               1.     The SA360 feature disparity harms advertisers in search advertising
                      markets

       257.    Google’s conduct harms advertisers by decreasing the efficiency of their ad spend

on SA360. Use of auction-time bidding dramatically increases conversions and return on ad

spend. This includes Google Ads auction-time bidding—which Google touts as providing

“consistently strong performance improvement” and increasing conversions by 15-30%—and

also Microsoft Ads auction-time bidding, which testing showed increased conversions by

on Skai and doubled Home Depot’s return on ad spend. PSX00909; PSX00386 at -607;

PSX00275 at -415; PSX00655 at -415; Indacochea (Microsoft/Google) Dep. Tr. 71:2-16; Tr.

5161:22-5162:14 (Booth); Tr. 6907:15-20 (Amaldoss); Tr. 7100:24-7101:8 (Baker); see also

PSX00441 at -904 (Google was “not terribly surprised” that testing of Microsoft auction-time

bidding also showed performance improvements for the “same the reason google [auction-time

bidding] does”).

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       258.      Auction-time bidding’s effectiveness is also demonstrated by its broad adoption.

In September 2020, over 80% of SA360 customers had “fully adopted” auction-time bidding and

were “no longer using Intraday bidding on Google Ads campaigns.” PSX00386 at -607; Tr.

7100:5-18 (Baker). And since at least 2019, Google has known that Microsoft Ads auction-time

bidding is a top requested feature by advertisers, in addition to a request for greater parity

generally between supported Google Ads and Microsoft Ads features. Supra ¶¶ 196-200; Tr.

7101:12-20 (Baker).

       259.    By denying advertisers the ability to use Microsoft Ads auction-time bidding on

SA360, Google has hindered advertisers’ ability to optimize their cross-engine ad spend and

made their Bing ad campaigns on SA360 less efficient at achieving advertisers’ objectives.

Supra ¶¶ 121-33; Heath (Microsoft) Dep. Tr. 145:13-16 (“Lack of support disadvantages our

clients and our business.”); Tr. 7102:2-11 (Baker) (“If SA360 supports all of the features of

Microsoft auction-time bidding, that makes it easier for SA360 advertisers to shift some of their

ad spending from spending on Google to spending on Bing or somewhere else, and that would be

costly to Google as a whole”); Tr. 6861:7-9 (Amaldoss) (“Google’s failure to support auction-

time bidding and other Microsoft ad tools has decreased the efficiency of advertisers’ spend”).

       260.    SA360 is “sticky” because it is able to provide greater support for Google Ads

features than competing SEM tools and advertisers must advertise on Google due to its market

dominance. Supra ¶ 150; PSX01117 at -019 (Microsoft presentation: SA360 is “sticky” because

Google “own[s] the advertising spend market” and SA360 “nearly owns the ad technology

ecosystem”); Tr. 6917:2-6918:12 (Amaldoss); Tr. 7108:1-7109:3 (Baker).

       261.    While advertisers have the ability to switch to other SEM tools that offers

Microsoft Ads auction-time bidding or use multiple SEM tools or native tools concurrently,



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doing so only introduces further costs and inefficiencies. It is costly for advertisers to switch

SEM tools or use multiple tools at the same time, which also undermines the principal value of

an SEM tool as a unified platform to manage all general search ad campaigns. Supra ¶¶ 125,

154-56; Tr. 6917:2-6918:17 (Amaldoss); Tr. 7106:1-7107:14 (Baker). And more fundamentally,

SA360 is “sticky” because it is able to provide greater support for Google Ads features than

competing SEM tools and advertisers must advertise on Google due to its market dominance.

Supra ¶¶ 148-50; Tr. 6917:2-6918:12 (Amaldoss); Tr. 7108:1-7109:3 (Baker).

       262.    In addition, denying advertisers the ability to efficiently shift ad spend from

Google to Bing artificially increases Google search ad prices. As Prof. Baker explained, “if

advertisers were to switch from Google to Bing, that would tend to reduce the amount of bidding

for Google Ads, and that would tend to decrease prices for Google Ads.” Tr. 7104:2-8 (Baker);

PSXD-11 (Baker slides) at 88; Tr. 2683:9-22 (Parakhin) (“The more advertisers you have, the

denser the auction is. … That means they’re more willing to raise prices competing against each

other, and that has very beneficial impact on revenue.”).

               2.      The SA360 feature disparity harms Microsoft, other GSE rivals, and
                       competition in search advertising markets

       263.    Google’s decision not to support key Microsoft Ads features makes it harder for

all GSE rivals that use Microsoft Ads to attract customers. That includes Bing, DuckDuckGo

and Yahoo!, all of which use Microsoft Ads for the purchase and placement of general search

ads. Supra ¶ 123. It also includes potential entrants that, like DuckDuckGo and Yahoo!, enter

agreements with Microsoft to use Microsoft Ads to facilitate the purchase and placement of

general search ads. Tr. 7097:22-7098:15, 7111:14-7112:15 (Baker).

       264.    SEM tools are an important means for Google’s general search rivals to attract

potential customers. Supra ¶ 129. When SEM tools provide broader support for a GSE,


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advertiser spend on that search engine tends to increase. For example, Skai provides broader

support for Microsoft Ads features than does SA360. This has resulted in Skai getting a higher

percentage of Bing ad spend (12-14%) than the industry standard. Tr. 6631:6-6632:11, 6636:1-

23 (Vallez); see also Lien (Marin) Dep. Tr. 166:8-14 (“Marin’s support for Bing Ads exceeded

what Search Ads 360 offered in support for Bing Ads”).

       265.    However, Google operates SA360 in a manner that artificially inhibits Bing from

attracting customers, thereby protecting Google’s search advertising monopolies. By supporting

auction-time bidding only for Google Ads—even though auction-time bidding has been available

for Microsoft Ads since 2016—Google intentionally makes advertisers’ Bing ad campaigns less

efficient, resulting in less spending on Bing and more spending on Google. Ample record

evidence supports this anticompetitive effect of Google’s conduct:

       266.    Google’s internal documents state that advertisers using Google Ads auction-time

bidding on SA360 increased their ad spend on Google by           PSX00419 at -238; see also

Miller (Google) Dep. Tr. 251:4-24 (Google “had a sales initiative to drive the adoption of

[auction-time bidding]. We saw it drive great performance for advertisers. And when we make

advertisers successful and deliver better ROI, it often comes back to us in increased spend on

Google.”). Google documents also reflect the expectation that introduction of Google Ads

auction-time time bidding on SA360 will “drive        billion (USD) for Google within 2 years of

launch.” PSX00419 at -238. By contrast, Skai’s greater investment in support for Microsoft Ads

has resulted in a relatively higher percent of overall Skai search ad spend going to Bing. Supra ¶

264.

       267.    Likewise, Microsoft documents recognize that the effect of lack of support for

Microsoft Ads features on SA360 is that “Bing relative ROI [return on investment] would suffer”



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and SA360’s “algorithms would shift budget accordingly.” PSX01117 at -022.

       268.    Data from Google’s economic expert, Dr. Israel, confirms this spend shift from

Bing to Google after SA360’s release of Google Ads auction-time bidding. Dr. Israel’s data

shows that Bing’s share of total spend on SA360 decreased more rapidly after September 2019

than in the period before. Specifically, Bing’s share of total ad spend on SA360 decreased 0.4%

(from 13.66% to 13.26%) in the eighteen months before September 2019 and 2.25% (from

13.26% to 11.01%) in the eighteen months after—meaning Bing’s share of spend on SA360

decreased over five times more in the eighteen months after the full introduction of Google Ads

auction-time bidding than in the same period before. Dr. Israel admitted this his data reflected

this accelerating share decrease for Bing after the introduction of Google Ads auction-time

bidding. 15 PSX01257; Tr. 8896:5-22, 8964:6-8965:13 (Israel); DXD29 (Israel slides) at 151.

       269.    Finally, Microsoft’s ordinary course business documents reflect the significant

loss of revenue and profit due to SA360’s refusal to support Microsoft Ads auction-time bidding

and other key Microsoft Ads features. Microsoft’s former head of advertising, Rik van der Kooi,

testified that “[t]he degree to which SA360 does or does not code to our latest features and

functionality can impact us to the tune of hundreds of millions of dollars in revenue.” Van der

Kooi (Microsoft) Dep. Tr. 240:17-241:5, 245:11-21, 264:2-24; see also Utter (Microsoft) Dep.

Tr. 249:4-250:5, 252:5-22 (“[W]hen you have cases where clients [] are running in SA360 with a

campaign, let’s call it a joint budget or a universal budget that can be spread across either search

engine, they’re running the same campaign, let’s say, on Bing with no auto bidding, and then

they’re running that same campaign on Google with the Google auto bidding technology. It’s a


15
  Although Dr. Israel conceded this accelerating trend on cross examination, he then incorrectly
asserted that there was “nothing statistically detectable as a change from trend” when re-directed
by Google’s counsel. Tr. 8981:19-8982:8 (Israel).

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pretty bright line belief that budgets can shift.”). Mr. van der Kooi testified that nearly all of this

lost revenue would translate into lost profit because “[i]t wouldn’t have required any incremental

marketing effort or any operating expense.” Van der Kooi (Microsoft) Dep. Tr. 265:5-21 (“I

would have assumed that essentially the full gross margin of that revenue would fall down to the

bottom line”).

       270.      Mr. van der Kooi’s testimony is supported by two lost revenue analyses

conducted by Microsoft in the ordinary course. The first analysis, conducted in 2020, found that

lack of SA360 support for auction-time bidding, dynamic search ads, and responsive search ads

would conservatively cost Microsoft                      in revenue per year initially and would

increase to                    per year as SA360 adoption rose. PSX00745 at -327 to -328; see

also PSX00746; PSX00754 at -226 16; Utter (Microsoft) Dep. Tr. 281:6-283:17 (“The lack of

existence of that feature being available in the Search Ads 360 interface would have clients,

therefore, not using the feature. That feature can drive incremental high performance clicks. We

estimated at the time []                     dollars].”); Heath (Microsoft) Dep. Tr. 279:9-24 (the


16
   Trial exhibits PSX00745 (MSFT-LIT-0000015326), PSX00746 (MSFT-LIT-0000016225),
and PSX00754 (MSFT-LIT-0000022255) are the three Microsoft documents that Google sought
to exclude in a pre-trial motion in limine, which the Court denied. See Dkt. 683 ¶ 2. The Parties
and the Court agreed during trial that Plaintiff States may rely on these exhibits on post-trial
briefing and Google may raise further objections to their admission. See Tr. 9632:7-22,
10230:21-10231:6.

    Any objection by Google to the admission of these three exhibits should be denied. They are
internal Microsoft business records prepared in the ordinary course, as affirmed in a declaration
from a Microsoft records custodian. The exhibits contain highly relevant evidence of the harm
that Google’s conduct caused to its chief rival, and the basis for the projections in the documents
is described in the documents themselves and in designated deposition testimony from Microsoft
employees Mr. Utter, Ms. Indacochea, Ms. Heath, and Mr. van der Kooi. Dkt. 648 at 9-13.
Google has also had a full opportunity to cross examine Mr. Utter, Ms. Indacochea, Ms. Heath,
and Mr. van der Kooi about these documents during their depositions. Indeed, much of the
testimony that Google relied on in its in limine motion (and put in the trial record through
designations) was from questioning by Google’s own lawyers about the documents.

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                 estimate “is low, in my opinion”); PSX00712 at -635 (Microsoft memo: “Lack

of support in [SA360] introduces friction for clients and will influence adoption of features that

benefit clients. [Microsoft Ads] exposure to SA360 is large, a swing of        will represent

        cost to [Microsoft Ads].”); PSX00727 (similar).

       271.    The second analysis, conducted in 2021, found that lack of SA360 feature support

would cost Microsoft                   per year, with “90%+ of the opportunity [] coming from

[auction-time bidding] since this is the SA360 product that is creating a severe ROI imbalance

between us and Google and shifting dollars away.” PSX00744 at -236; see also PSX00764;

PSX00763.

       272.    Google’s conduct has thus made it harder for Microsoft and other rivals to

compete in search advertising markets, which protects Google’s monopoly power from erosion.

Tr. 7119:3-10 (Baker). Google’s anticompetitive conduct and the harm to competition is

ongoing. SA360 still does not support Microsoft Ads auction-time bidding, and the primary

purpose for Google’s new SA360, released in 2022, is to offer immediate support for Google

Ads features, but no comparable support for Microsoft Ads features—meaning that SA360’s

disparity in support for Google Ads and Microsoft Ads features will recur for future features.

Supra ¶¶ 148, 224. A Google memo recognized this precise effect, stating that the new SA360

will “further increase the feature disparity between Google Ads and Bing Ads,” and, as a

consequence, allow Google to use “SA360 to increase / maintain spend on Google Search vs 3P

engines.” PSX01111 at -458.

       I.      Google’s purported procompetitive justifications and other excuses are
               pretextual and unsupported by the record

       273.    Google has not shown any procompetitive justifications or other valid reason for

its decision not to support Microsoft Ads auction-time bidding and other Microsoft Ads features


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on SA360.

       274.    First, Google’s actions cannot be defended based on a supposed lack of customer

demand. Google has long known that its customers want support for Microsoft Ads features on

SA360 generally and for Microsoft Ads auction-time bidding specifically. The primary value

that SA360 provides to customers is the ability to manage ad campaigns on multiple GSEs, and

advertisers want SA360 to provide consistent features and support across their multiple general

search ad campaigns. Supra ¶¶ 125, 131-33. Google also knows that auction-time bidding is

highly effectively on both Google Ads and Microsoft Ads, and Microsoft Ads auction-time

bidding for years has been a top customer feature request. 17 Supra ¶¶ 195-206. The evidence

thus shows that Google’s refusal to support Microsoft Ads features and specifically auction-time

bidding is contrary to the interests and requests of Google’s own customers.

       275.    Moreover, that demand for Bing advertising is depressed compared to demand for

Google advertising is further evidence of Google’s multi-faceted anticompetitive conduct. The

foreclosure caused by Google’s default distribution agreements depresses demand for advertising

on rival GSEs and insulates Google’s search advertising monopolies from erosion. Supra ¶¶

116, 146; infra ¶¶ 282-84. Google then leverages its high share in advertising markets to operate

SA360 to preference Google search, which in turn harms Bing and customers seeking efficient

cross-engine campaign management. 18 See PSX00360 (“The fact that Google’s dominant search


17
   Google also directed Microsoft to stop its recruitment of customers for the conversion sharing
testing that was intended, among other things, to obtain customer feedback and gauge customer
demand. Supra ¶ 209-11; Tr. 6855:3-21 (J. Krueger).
18
   Google also avoided properly measuring demand for Microsoft Ads features by using a
“flawed” “prioritization process” that relied on “asking SA360/Google employees to prioritize
Microsoft Advertising features against Google Ads features”—an obvious “[c]onflict of interest
for Google reps” who “benefit[] directly from higher share of wallet going to Google Ads.”
PSX00768 at -211-12; PSX00730 at -489-90.

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advertising position means that there will inherently be less advertiser demand for Bing features

does not excuse using SA360 to provide preferential treatment to Google Search”); PSX01117 at

-015 (Microsoft presentation: “Without changes we risk Google leveraging their market

dominance to continue to win share of mind and wallet with [SEM tools], agencies and clients

and marginalizing Bing Ads in the advertising value chain”).

       276.    Second, SA360’s refusal to develop Microsoft Ads auction-time bidding was not

due to lack of funding or resources. None of Google’s contemporaneous communications with

Microsoft indicates insufficient funds or resources. Rather, Google decided not to move forward

with conversion sharing testing after the testing had passed several layers of internal review,

including cost cutting sessions and approval by sales and executive leadership. Supra ¶ 216.

Google refused even to allow an initial testing phase that required “little, if any, engineering

work” and even after Microsoft offered to pay for the feature development and testing. Supra ¶¶

210, 234. The true reason for Google’s refusal, as stated in an internal Google memo, was

simply that Microsoft’s “requests for parity / feature development” were “not aligned with

[Google’s] product or business goals.” PSX01111 at -457, -458.

       277.    Third, there are no credible technical impediments to Google’s development of

Microsoft Ads auction-time bidding. In several documents, Google employees claim that SA360

cannot support Microsoft Ads auction-time bidding unless Microsoft Ads also supports a feature

called fractional conversions, which assigns partial or fractional value to clicks made by a user

prior to the last click that resulted in a conversion. Tr. 6641:23-6643:5 (Vallez).

       278.    That claim is false. As Microsoft employees wrote at the time, Google’s

objection based on fractional conversions was a “delay tactic” by Google and was not a “blocker

for the [conversion sharing] test or for the general rollout [of auction-time bidding].” PSX00778



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at -034; PSX00506 at -899; PSX00565 at -800. The lack of support for fractional conversions

did not impede Skai, Marin or Adobe’s support for Microsoft Ads auction-time bidding, supra ¶¶

179-84, and Mr. Vallez of Skai testified that customers benefited from using auction-time

bidding even without the option of also using fractional conversions. Tr. 6643:2-5. Finally, the

fractional conversions feature is not required even to use Google Ads auction-time bidding;

indeed, the default on SA360 is last click attribution, the alternative to fractional conversions.

PSX01255 at 1 (“By default, the new Search Ads 360 credits the last click immediately before a

defined conversion action for that conversion”); PSX01256 at 1 (“The last-click attribution

model is selected by default” when users turn on auction-time bidding with an SA360 bid

strategy).

        279.   Fourth, the trial record refutes Google’s argument that SA360 is developing

support for Microsoft Ads auction-time bidding on a reasonable timetable. Amongst major SEM

tools, SA360 is alone in offering no support for Microsoft Ads auction-time bidding: Skai fully

supported Microsoft Ads auction-time bidding since 2020 and Marin and Adobe developed

partial support by 2022. Supra ¶ 179-84. Mr. Vallez of Skai testified that it took Skai—which

has far fewer resources than Google—less than two years to integrate Microsoft Ads auction-

time bidding, yet it is over seven years since Microsoft released auction-time bidding on its

native tool and over four years since SA360 released support for Google Ads auction-time

bidding. Supra ¶¶ 180-81. SA360’s process to support Google Ads auction-time bidding took

“1.5 years of development analysis/testing” and, at least for Skai, having already integrated

Google Ads auction-time bidding simplified the process of integrating Microsoft Ads auction-

time bidding. Supra ¶¶ 181, 208; PSX01254 at -854 (2021 Google presentation projects 78

weeks for development of “Auction time bidding (Byx)”). Tellingly, Google did not introduce



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any evidence of when, if ever, SA360 will support Microsoft Ads auction-time bidding. Instead,

Google decided to “slow-roll” its development of Microsoft Ads auction-time bidding “by doing

some minimal work to keep it ticking over.” PSX00613 at -956.

       280.    While independent SEM tools like Skai seek to provide broad cross-engine

feature support—consistent with the desires of their customers—SA360 at every turn prioritized

development of Google Ads features and resisted development of comparable Microsoft Ads

features.



IV.    GOOGLE’S DISTRIBUTION CONTRACTS CAUSE FURTHER HARM TO
       COMPETITION

       281.    Plaintiffs’ joint proposed findings of fact explains the extensive harm caused by

Google’s exclusionary distribution contracts. JFOF ¶¶ 971-1192. Two additional harms flow

from Google’s distribution contracts: (1) they depress demand for advertising on rival GSEs, and

(2) they make rival GSEs less attractive partners for SVPs.

       A.      Google’s distribution contracts depress demand for advertising on rival
               GSEs

       282.    As described above and in Plaintiffs’ joint proposed findings of fact, advertising

on Google is essential for many advertisers. Supra ¶¶ 99, 106-11, 145; JFOF ¶¶ 586-88. For

example, advertisers testified it would not be “mathematically possible” to stop advertising on

Google and any steps to reduce Google advertising “would be incredibly bad … for the

company.” Supra ¶ 99.

       283.    Advertisers also testified that they cannot effectively advertise on Google’s GSE

rivals, including Bing, because all of Google’s rivals have significantly smaller user scale. Supra

¶¶ 102-03. That reduced scale is a direct consequence of Google’s exclusionary distribution

contracts. JFOF ¶¶ 978-1066. The effect is self-reinforcing: less scale makes a GSE less

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attractive for advertisers, which in turn decreases the GSE’s financial incentive to improve its

product, which leads to the GSE becoming even less attractive for advertisers. Supra ¶¶ 104-05.

        284.    The result of this negative feedback loop is that Google’s distribution contracts

depress demand for advertising on Google’s rivals. Google’s distribution contracts lead to lower

user shares for its rivals, making it harder for rivals to offer attractive advertising opportunities.

JFOF ¶¶ 1030-60; Tr. 5281:21-5282:2 (Dijk) (“So even if Bing would be far cheaper, it would

really not work for us, because we really don’t get the scale we need”); Tr. 2676:22-2677:3

(Parakhin) (“The bigger you are, the more advertisers want to work with you…”); PSXD-11

(Baker slides) at 61. Depressed advertiser demand for rival GSEs also depresses SEM tool

interest in supporting non-Google GSEs, which further weakens the ability of non-Google GSEs

to attract advertisers. Supra ¶ 146.

        B.      Google’s distribution contracts hinder rivals’ ability to enter into
                partnerships with SVPs

        285.    By keeping its GSE rivals at a small scale, Google has also made its rivals less

attractive business partners to companies who would otherwise assist in improving those rivals’

products. Tr. 6205:13-21 (Barrett-Bowen) (“the more traffic you have, the more you have to

offer the partner, and so the more the partner’s interested in doing a deal with you”); Soo

(OpenTable) Dep. Tr. 153:3-19 (integration with Microsoft is not a “huge priority [for

OpenTable] because it doesn’t generate the demand or the traffic or the covers that Google

does”); Tr. 7135:5-25 (Baker); PSXD-11 (Baker slides) at 61, 116.

        286.    Microsoft enters into three types of content partnerships: (1) data for traffic; (2)

revenue share; and (3) payment for content. Tr. 6181:7-18 (Barrett-Bowen). Microsoft prefers

data-for-traffic partnerships, but is limited in its ability to pursue such partnerships due to its low

user scale. Id. 6183:16-23. As a result, some content providers demand payment because


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Microsoft does not have enough user traffic to support a data-for-traffic exchange. Id. 6201:24-

6202:14, 6203:15-20; PSX01201 at -533, -534; see also Tr. 6204:1-8 (Barrett-Bowen)




                                  id. 6205:13-21 (Microsoft’s lower user traffic makes it more

difficult to enter into content partnerships). That lower traffic is a direct consequence of the

distribution contracts.

       287.    Bing and other GSE rivals need SVP partners to improve their search result

quality, especially in the travel and local verticals. That is because while Bing can crawl data on

the open internet, certain data of value to users, including rich data like opening hours, photos,

and reviews, is owned by a provider that can restrict access. Tr. 6173:19-6177:21, 6199:7-

6200:11, 6205:7-10 (Barrett-Bowen) (“[T]he content deals we’re trying to agree on, the purpose

of that is to make sure that the answers that we’re providing to our users is a great answer”);

PSX01201 at -534, -535                                                            Tr. 3536:10-

3537:19 (Nadella) (“At the end of the day, if someone has better content, as I said, even if we’re

ranking it, it’s always helpful. [¶] So, yes, we think about whether it’s in commerce or in travel

or in local or any of these domains. When people have good content sources to be able to partner

with them and improve search experience and quality is something that we will always look to

do”); Tr. 2677:10-2678:9 (Parakhin) (for local queries, it is critical for Microsoft to form strong

partnerships with SVPs like TripAdvisor to obtain important rich data, which impacts both the

quality and perception of the quality of Bing responses to queries); PSXD-11 (Baker slides) at

115.

       288.    Microsoft recognizes that it is in a weak position to obtain access to SVP data in



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travel and local. Tr. 6182:5-13 (Barrett-Bowen) (partners often discuss with Bing whether a

data-for-traffic partnership construct will work as Bing may be unable to provide enough user

traffic); id. 6189:5-9 (traffic “is a big part of the overall conversation” with NextDoor); id.

6191:25-6192:7



       289.    Mobile data is especially important to query responses in the travel and local

verticals, which means that content partnerships are particularly valuable to Microsoft when it

comes to mobile. Tr. 6176:14-6177:2 (Barrett-Bowen) (“mobile data is pretty critical for the

categories of local and also travel and mapping as well … by not having access to the mobile

device and that platform, it makes it more challenging for us to source the data”); Tr. 7135:5-25

(Baker); PSXD-11 (Baker slides) at 115.

       290.    When Microsoft makes proposals to potential content partners, it is very upfront

that mobile is not an area of strength. Tr. 6177:16-21 (Barrett-Bowen).

       291.    Bing’s relatively smaller scale—caused by Google’s exclusionary distribution

contracts—is an impediment to its ability to form partnerships. A potential content partner,

Hopper, told Microsoft that it had other partners it would rather work with and that Bing is less

interesting due to its small number of users. Tr. 6187:20-6188:10 (Barrett-Bowen); PSXD-11

(Baker slides) at 117.

       292.    Because Bing’s small scale makes it more difficult to establish data-for-traffic

deals, it is “more likely that Bing would end up having to pay for data that it wanted instead.”

Tr. 7137:13-20 (Baker); see, e.g., Tr. 6192:20-6193:3 (Barrett-Bowen)



     . This is yet another increase in the cost of a rival doing business that results from Google’s



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improve search quality. Tr. 7134:25-7135:525 (Baker); PSXD-11 (Baker slides) at 100, 110-18.

       298.    For example, in Japan’s more competitive market, Google recognized that

strategic partnerships and investments with large SVPs would allow general search markets to

quickly build vertical depth. Tr. 7133:16-7134:14 (Baker); PSXD-11 (Baker slides) at 114;

UPX0789 at -676. Google identified Yahoo! Japan’s acceleration of its investments in various

vertical segments (e.g., local, shopping) as putting its own revenue at risk. Tr. 7132:19-7133:7

(Baker); PSXD-11 (Baker slides) at 112; UPX0789 at -624.

       299.    In a more competitive market, SVPs would be less focused on Google as they

consider the paths of their own innovation and would have greater incentive to partner with

Google’s rivals. See, e.g., Tr. 6527:17-6528:10 (Hurst) (with more competition, Expedia

“wouldn’t spend all of our time in general search focused on what Google says we should focus

on”; rather, Expedia “would have more opportunity to, say, partner with the alternative on a

different way to approach text ads or a different treatment or [] more likely highlighting different

parts of a value proposition”).

       300.    More partnership options would lead to more consumer differentiation and greater

innovation. For example, Expedia could “highlight a loyalty program” or its customer service,

or generally “make more of the experience about the thing that you sell that is unique beyond

having a low price.” Tr. 6528:16-20 (Hurst); id. 6528:21-6529:5 (“you could have seen that

same type of evolution with other general search engines, where maybe one is more focused on

reviews and trust, as Trip Advisor would have been, and one may be more focused on price, like

a Google or a Trivago in that case.”); id. 6529:6-9 (“you would have had more consumer

differentiation and more innovation at the OTA and provider level to compete within those

search results”); id. 6529:12-23 (“it gives you options in that there’s a different type of



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partnership that could exist with two, three, or four equal players in terms of them having an

incentive to build something with you and you having an incentive to try something different”).

       301.    Google’s market power would be easier to erode in more competitive markets. Its

GSE rivals would have greater incentive and ability to compete, leading to higher quality GSEs,

more choices for advertisers and users, and lower prices. Tr. 7142:23-7144:7 (Baker) (“SVPs

and SEM tool providers and the SERP section providers that sell the exclusive defaults would

have greater incentives to work with … Google’s rivals, all of those potential partners. [¶] And

so that would all generate more competitive outcomes of the sort I’ve been talking about, greater

quality, more choices for search users and advertisers, and lower quality-adjusted prices in the

market as a whole, you know, for advertisers and potentially for search users, too.”); PSXD-11

(Baker slides) at 126-27.




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Dated: February 9, 2024   Respectfully submitted,

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                               CERTIFICATE ON SERVICE

       On February 9, 2024, I served this Plaintiff States’ Proposed Findings of Fact by email on

counsel for Google and counsel for DOJ Plaintiffs in the above-captioned matters.



 February 9, 2024                                /s/ Matthew McKinley

                                                 Matthew McKinley

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